       Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 1 of 84




                              UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

JOHN DOE,                                            §
     Plaintiff                                       §
                                                     §
v.                                                   §       CIVIL ACTION NO.: 20-4332
                                                     §
TEXAS A&M UNIVERSITY,                                §
     Defendant.                                      §


          PLAINTIFF’S ORIGINAL VERIFIED COMPLAINT & JURY DEMAND


         Plaintiff, John Doe,1 by and through his attorneys of record, and files this Original

Verified Complaint against Defendant Texas A&M University, and would respectfully show the

Court as follows:

                                          INTRODUCTION

1. Plaintiff John Doe brings this action to recover monetary damages as well as injunctive and

     declaratory relief, as well as all other appropriate relief.

2. This case arises out of the decision of Defendant Texas A&M University to impose

     disciplinary sanctions against Doe in violation of Plaintiff’s Constitutional and federal

     statutory rights.

                                               PARTIES

3. Plaintiff John Doe (“John”) is an undergraduate student at Texas A&M University and a

     member of the Corps of Cadets.



1
  John Doe is a pseudonym. John Doe has been substituted for Plaintiff’s name for all causes of
action brought through this Complaint, which would otherwise publish important privacy
interests of all parties. Upon consultation with counsel for the Defendants, John will file a
Motion to Proceed Under a Pseudonym.


                                                    1
     Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 2 of 84




           a. John Doe is a Texas resident with a residence in Dallas, Texas. Doe has

               completed three years of coursework at A&M.

           b. At all material times, John Doe resided within this judicial district, the Southern

               District of Texas, while attending Texas A&M University.

4. Defendant Texas A&M University is a public university located within the Southern District

   of Texas.

           a. The organization and control of Texas A&M University is vested in the Board of

               Regents of the Texas A&M University System.

           b. Texas A&M University has a principal place of business at 400 Bizzell St.

               College Station, TX 77843.

           c. The University may be served through its President, Michael K. Young, and/or

               the incoming Interim President, John Junkins.

                                JURISDICTION AND VENUE

5. This Court has federal question jurisdiction pursuant to 28 U.S.C. § 1331 because the claims

   arise out of questions of Federal Constitutional law under the 14th Amendment.

6. The declaratory and injunctive relief sought in this matter is authorized by 28 U.S.C. §§ 2201

   and 2202 and Federal Rules of Civil Procedure 57 and 65.

7. This Court is an appropriate venue for this cause of action pursuant to 28 U.S.C. § 1391. The

   defendant university’s principal place of business is within this district and a substantial part

   of the events or omissions giving rise to the claims occurred in this district.




                                [continued on the following page]




                                                 2
     Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 3 of 84




                                           FACTS

A. A&M’s Sexual Misconduct Policy

8. Over the years, the Federal Government, through the Department of Education, pressured

   colleges and universities to aggressively pursue investigations of sexual assaults on

   campuses.

9. On April 11, 2011, the U.S. Education Department’s Office of Civil Rights sent a “Dear

   Colleague” letter to colleges and universities, requiring that universities investigating

   complaints of sexual misconduct apply the lowest burden of proof – “more likely than not”

   or preponderance of the evidence.

10. That Dear Colleague Letter, while not completely ignoring due process concerns, suggested

   that schools should focus more on victim advocacy.

11. In response to the above-referenced pressure, many schools treated all those accused of

   sexual misconduct with a presumption of guilt.

12. Despite recent regulatory reform implemented by the Department of Education, the

   presumption of guilt within university disciplinary processes for the accused remains ever

   present and the lowest evidentiary burden remains permissible when evaluating student’s

   guilt or innocence.

13. Texas A&M University System implemented system-wide policies to comply with the new

   rules submitted by the Department of Education under Secretary DeVos. Those policies

   apply to Texas A&M University and will hereafter be cited as “A&M Rules.”

14. The University utilizes broad language within its policies to ensure that more prohibited

   conduct than that contemplated under Title IX would be subject to university investigation

   and sanctions. More specifically, A&M’s Sexual Misconduct Policy applies to any student or




                                              3
        Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 4 of 84




   university employee conduct that occurs on campus, during school-organized functions off

   campus, or anywhere else so long as the alleged conduct “creates a hostile environment for

   Students, Employees, or Third Parties, while on University grounds or other property owned

   or controlled by the University or in any University employment or education program or

   activity.” See A&M Rule 08.01.01.M1 § 1.3(c), Exhibit 1 at p. 2.

15. Section 3 of A&M’s Rule 08.01.01.M1 provides that “[t]he University’s response to

   allegations of Prohibited Conduct will be 1) prompt and equitable; 2) intended to stop and

   prevent the recurrence of any harassment; and 3) intended to remedy its discriminatory

   effects, as appropriate.” See Exhibit 1 at p. 5.

16. University rules define “Prohibited Conduct” to “include[] discrimination, harassment

   (including non-consensual sexual contact, sexual assault, sexual exploitation, dating

   abuse/violence, domestic abuse/violence, stalking, quid pro quo and hostile environment

   sexual harassment), complicity, and retaliation.” See A&M Rule 08.01.01.M1, Exhibit 1 at p.

   1.

17. A&M’s Rule 08.01.01 provides further definitions detailing such Prohibited Conduct. In

   relevant part:

         a. Sexual assault is defined as “an offense that meets the definition of rape, fondling,

            incest, or statutory rape as used in the FBI’s Uniform Crime Reporting program.” See

            A&M’s Rule 08.01.01, Exhibit 2 at p. 3 (citing 34 CRF 668.46(a), which defines rape

            as “[p]enetration, no matter how slight, of the vagina or anus with any body part or

            object, or oral penetration by a sex organ of another person, without the consent of

            the victim.”).




                                                  4
     Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 5 of 84




       b. Consent is the “clear, voluntary and ongoing agreement to engage in a specific sexual

          act. Persons need not verbalize their consent to engage in a sexual act for there to be

          permission. Permission to engage in a sexual act may be indicated through physical

          actions rather than words. A person who was asleep or mentally or physically

          incapacitated, either through the effect of drugs or alcohol or for any other reason, or

          whose agreement was made under duress or by threat, coercion, or force cannot give

          consent.” See Exhibit 2 at p. 1-2.

       c. University policy defines “incapacitated” as “a state in which a person, due to a

          disability, the use of alcohol or drugs, being asleep, or for any other reason, is not

          capable of making rational decisions about consent to sexual activity and recognizing

          the consequences of their decision.” See A&M’s Rule 08.01.01, Exhibit 2 at p. 4.

       d. Section 7.1 of A&M’s Rule 08.01.01.M1.01 further provides that a “Respondent’s

          voluntary intoxication is never an excuse for or a defense to Prohibited Conduct, and

          it does not diminish the Respondent’s responsibility to determine that the other person

          has given consent and has the capacity to do so.” See Exhibit 3 at p. 21.

18. University “[s]tudents found responsible for committing acts of sex-based violence and/or

   non-consensual sexual penetration of another person will be subject to a minimum sanction

   of a one-year suspension, in the absence of significant mitigating factors.” See § 4.5.3 of

   A&M’s Rule 08.01.01, Exhibit 2 at p. 12. The rules do not further elucidate what would

   constitute a “significant mitigating factor[]” in this context.

       a. The above-referenced students “who are allowed to return to a member university

          after a suspension of one year or more will be ineligible to hold an office in any

          student organization, ineligible to represent the university in any way (including




                                                  5
     Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 6 of 84




          intercollegiate athletics or other competitions, both on and off campus), and ineligible

          to receive an institutional scholarship, in the absence of significant mitigating

          factors.” See § 4.5.5 of A&M’s Rule 08.01.01, Exhibit 2 at p. 12-13.

19. Students found responsible and punished under the above-referenced policies may only raise

   the following issues on appeal: “(a) a procedural error or omission that significantly impacted

   the outcome; (b) new evidence, unknown or unavailable during the investigation, that could

   have significantly impacted the outcome; or (c) the appropriateness or severity of the

   sanctions.” See § 4.6.1 of A&M’s Rule 08.01.01, Exhibit 2 at p. 13.

20. Pursuant to § 1.4 of A&M’s Rule 08.01.01.M1.01, “[i]f the Complainant or the Respondent

   appeals the DA’s [Designated Authority’s] decision, the Appellate Authority (AA) will

   review the Investigation Report, The DA’s decision, the documentary evidence, and any

   other relevant information and render a written decision on the appeal.” See Exhibit 3 at p. 2.

21. A number of provisions of the University’s sexual misconduct policies raise significant due

   process and self-incrimination concerns, including:

       a. A student is permitted to have an attorney present at the interview or hearing, but that

          attorney is largely forbidden from active participation therein.

       b. In seeking to cross-examine an accuser or adverse witnesses, a student must first

          submit proposed questions for approval by the Hearing Officer. That Hearing Officer

          has the right to review, determine, and/or narrow which questions are permitted

          during the hearing. Similarly, a student may submit written questions for the

          investigator to pose to an accuser or adverse witnesses, but the investigator is not

          required to ask those questions.




                                                6
     Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 7 of 84




B. Spring Break 2020

22. On Friday, March 6, 2020, John traveled to Gruene, Texas with several of his “buddies” in

   the Corps for a weekend trip over Spring Break. This would be the first time many in the

   group had traveled without supervision. As a result, most of the group brought alcohol to

   Gruene with the express intention of drinking to excess over the course of that weekend. By

   all accounts, that is exactly what took place.

23. John was one of the last of the group to arrive in Gruene on Friday. When he arrived, it

   quickly became clear that other members of their group (who had arrived earlier) had begun

   drinking several hours earlier. John then began consuming large amounts of alcohol over a

   short period of time to “catch up” to his peers. As a result, John does not recall anything that

   took place after 9:00 p.m. that evening.

24. That Saturday morning upon awaking, John asked the group what, if anything, they could

   recall having occurred the night before. Because most of the group had been similarly

   intoxicated, no one could recall specifically what John did.

25. On Saturday afternoon, the group went into Gruene to explore and have a meal. The group

   stayed together throughout the afternoon, and, to John’s knowledge, no one in the group was

   behaving unusually.

26. However, upon returning to the home where they were staying for the weekend, John noticed

   that one of the female “buddies” in the group, a longtime, close personal friend of his, was

   seemingly avoiding him. John thought this behavior strange given their prior closeness and

   asked to speak with her privately, but she refused. John, like many others in the group, drank

   to similar excess on Saturday night and cannot recall much of the events that took place

   thereafter.




                                                    7
     Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 8 of 84




27. Thereafter and unbeknownst to John at the time, she disclosed to two other members of the

   group that John had sexually assaulted her on Friday, alleging John took her into a bedroom

   alone, locked the door, professed to having a “crush” on her, began kissing her, and

   subsequently removed both of their pants and penetrated her from behind. She later

   expressed her opinion to the investigator that she could not have consented to the alleged

   activity because she had been drinking alcohol that night.

28. Both John and his accuser were in romantic relationships with others at the time the alleged

   incident took place. Prior to this alleged incident, John had never given the female student

   any indication that he desired anything more than a platonic friendship with her. Indeed, John

   was preparing to propose to his girlfriend and had planned to discuss the same with this

   female student, his close, platonic friend.

29. Over the course of that weekend trip, no one disclosed the accusations levied against John to

   him directly. Instead, John was merely advised that “something bad” happened between him

   and the female student on Friday night and that it would be reported up the chain of

   command through the Corps as a result. Importantly and allegedly based on previous training

   the students had received concerning the sexual misconduct policies at A&M, all of these

   students believed that any sexual activity occurring between intoxicated persons would be

   nonconsensual sexual assault (for which they would be required to report).

C. The Sexual Assault Complaints Filed with A&M

30. The female student referenced above first submitted a complaint against John with the

   University, but requested that no action be taken against him at that time.

31. The initial complaint resulted in CREI imposing a no-contact directive against John.




                                                 8
     Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 9 of 84




32. The letter containing the no contact directive indicated that the University would take no

   further action concerning the complaint at that time. In email correspondence to John, the

   Interim Deputy Title IX Coordinator provided limited notice to John concerning the

   complaint, writing: “The purpose of this email is to notify you that a complaint has been filed

   naming you as a party. At this time we will not be proceeding with an investigation, however

   we are issuing the attached No Contact Directive.”

33. However, on April 28, 2020, the female student changed her mind (concerning “informal

   resolution” of her case) and formally filed a complaint against John with A&M’s Department

   of Civil Rights and Equity Investigations (“CREI”) within its Office of University Risk,

   Ethics, and Compliance.

34. Around this same time, and due to the level of John’s intoxication on the night in question,

   John’s case manager (as a mandatory reporter) submitted a complaint of sexual assault on

   John’s behalf. It was John’s understanding that the two complaints would be handled

   concurrently in the event that the parties did not pursue informal resolution. John did not

   learn until much later that his complaint was never formally submitted or filed and therefore

   would not be considered by the Hearing Officer at the final hearing.

35. John did not receive notice of the above-referenced complaint until May 14, 2020. At that

   time, CREI provided John with the following summary of the complaint: “On or around

   March 6, 2020 at a rental house in Gruene, Texas[,] the Respondent sexually assaulted the

   Complainant by penetrating her vagina with his penis without her consent.”

36. Thereafter, the Complainant again changed her mind and agreed to an informal resolution of

   her complaint. However, less than a month later, the Complainant changed her mind again.




                                               9
     Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 10 of 84




D. A&M’s Title IX Investigation

37. As a result of the pandemic and its effect on the University at large, John’s case suffered

   significant delays. Delays also resulted when the assigned investigator went on medical

   leave.

38. It was not until July 2020 that John attended an interview with A&M’s Title IX investigator.

   Further details concerning the student’s complaint were provided to John at that time.

39. The investigator first provided John with a draft of the Investigation Report on August 18,

   2020, where she found that it was more likely than not that John had penetrated the

   Complainant with his penis without her consent on March 6, 2020.

40. The investigator did not reach any determination concerning consent, as that was the

   responsibility of the assigned Hearing Officer. Because the investigator did not reach any

   determination surrounding consent, it remained an open question. The investigator did,

   however, include various statements from the Complainant concerning this issue.

       a. As outlined in the draft report, the complainant told the investigator the following: “I

            wasn’t able to process this because I was intoxicated. If I was not intoxicated I would

            not have wanted that to happen because he [John] has a girlfriend and I was about to

            start dating someone. I wasn’t able to register what was going on. I wasn’t able to

            stop it in that moment.” The investigator further noted that the Complainant advised

            she was “not okay” with what had allegedly occurred between her and John on the

            night in question.

41. John subsequently submitted his response to the initial draft of that report by September 1,

   2020.




                                                10
    Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 11 of 84




42. The investigator’s draft report contained information previously unknown to John. For

   example, the female student claimed that on the night in question, John had professed

   romantic interest in her. The investigator failed to question John about this so he instead

   addressed it in his response to the report.

      a. Interestingly, several witnesses, as well as the complainant herself, explained during

          their interviews with the investigator that they had previously shared concerns about

          another male in their group. According to the complainant and witnesses, that person

          previously professed his love for the complainant and made physical advances

          towards her to that effect. The complainant had already requested that the other

          members of their group ensure that this particular man would not be alone with her

          when they were in Gruene together. However, the investigator never interviewed that

          person and seemingly did not consider him an alternate suspect in this case. In

          response to the investigator’s draft report, John “request[ed] that further investigation

          be performed regarding other possible perpetrators[.]”

      b. Based on the amount of alcohol John consumed on that night, the investigator

          estimated his blood alcohol content (BAC) level to be approximately 0.232, nearly

          double to that estimated for the Complainant (.14). John’s high BAC level indicates

          that certain actions he was alleged to have taken that night were highly improbable.

          Because the investigator was not a medical doctor or expert, John requested that the

          investigator confer with such expert to obtain a better understanding of whether John

          would have been physiologically capable of acting as alleged based on his high BAC

          level. However, no such expert was consulted despite John’s request.




                                                 11
     Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 12 of 84




43. While awaiting response from the investigator regarding the above-referenced requests, John

   received new correspondence from the University advising him that the complaint against

   him could also constitute a violation of Texas A&M University Student Rules concerning

   “conduct unbecoming a cadet.” As outlined in that letter, “[a] cadet is guilty of ‘conduct

   unbecoming a cadet’ when his or her actions or conduct could be interpreted to be

   detrimental to the best interests of the individual cadet, other persons, the cadet’s unit, the

   Corps of Cadets, or Texas A&M University.” Thus, the Hearing Officer assigned to John’s

   case and final hearing would be responsible for determining whether John had committed a

   sexual assault as well as whether that alleged conduct constitutes “conduct unbecoming a

   cadet.”

44. The assigned investigator ultimately submitted her final draft of the investigation report to

   the Hearing Officer on September 28, 2020. Although the final draft added the parties’

   responses to the draft investigation report, the investigator did not perform any further

   investigation concerning alternate suspects, nor did she consult with a medical expert as John

   had previously requested.

45. However, approximately one week before the final hearing, John received email

   correspondence advising that “[t]he Hearing Officer, after reviewing the [investigation]

   report, asked that the Investigator verify with the Complainant how she arrived at her

   conclusion that [John] w[as] the person in the room with her.”

46. The Hearing Officer’s request ultimately resulted in a one-page “investigation supplement,”

   identified as Exhibit 21 within the investigation report and exhibits binder. Rather than

   interviewing the alternate suspect alleged by John, the investigator asked the Complainant

   why she felt sure John was the person who sexually assaulted her and further interviewed a




                                               12
    Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 13 of 84




   witness who the Complainant believed had opened the door and seen her with John in the

   bedroom that night. That witness stated he did not knock on or open the door as alleged by

   the Complainant. The Complainant stated she felt certain that John was the perpetrator and

   advised the investigator that she did not believe any additional witnesses should be

   questioned in this case. That was the extent of the supplemental investigation performed in

   this case.

E. A&M’s Title IX Hearing and Appeals Process

47. Although true cross-examination and attorney advocacy would not be permitted during the

   Title IX hearing, John was permitted to submit proposed questions to the Hearing Officer for

   consideration several days before the scheduled hearing.

48. The Hearing Officer provided notes requesting edits to some questions and rejecting other

   proposed questions the afternoon before the scheduled hearing.

       a. Although it was the Complainant’s belief that no consensual sexual activity could

           take place if either or both parties had previously consumed alcohol (and this belief

           seemingly served as her basis for filing the complaint against John at the outset), the

           Hearing Officer rejected any proposed questions seeking to understand the parties’

           subjective interpretations of consent.

       b. The Hearing Officer further limited proposed questioning of the Complainant

           surrounding her frame of mind at the time she alleges John began kissing her on the

           night in question, holding that the kissing had not been identified as a separate

           offense or violation and was therefore irrelevant to the issues before her at the

           hearing.




                                                13
     Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 14 of 84




       c. It was around this same time that the Hearing Officer informed John that his sexual

           assault complaint had not been formally filed and would therefore not be considered

           by her in the course of the upcoming hearing.

49. The Hearing Officer conducted the final hearing in this case on November 12, 2020. The

   investigator (author of the investigation report), the parties, several witnesses who were

   present in Gruene on the night in question, and a superior officer in the Corps of Cadets

   testified and were subjected to restricted cross-examination by the parties’ advisors at that

   time.

50. The Hearing Officer outlined her determinations finding John responsible for sexual assault

   and conduct unbecoming of a cadet in her November 22, 2020 Hearing Outcome Letter. The

   Hearing Officer believed that the complainant’s testimony concerning her level of

   intoxication that evening indicated that she was incapable of providing consent and further

   noted that John’s “inability to recall what happened that evening means he cannot provide

   evidence that the Complainant consented to sex[] or that he was not the person who sexually

   assaulted her.”

51. The Hearing Officer imposed the following sanctions against John as a result of her findings:

   (1) A one-year suspension to begin on December 31, 2020 until December 31, 2021.

   Thereafter John would be “eligible for re-enrollment[,]” but was “not guaranteed

   readmission[;]” (2) The mutual no-contact order between the parties would remain in effect

   indefinitely; (3) John must enroll and complete the University’s Ethic’s & Decision Making

   Workshop; (4) John must write a “reflective paper” of at least 700 words no later than

   December 31, 2021; and (5) John must attend the University’s Alcohol Education Workshop

   no later than June 1, 2021.




                                               14
     Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 15 of 84




52. John appealed the Hearing Officer’s findings and sanctions on November 30, 2020.

       a. More specifically, John argued that A&M’s failure to concurrently consider his

          sexual assault complaint against his accuser constitutes a significant procedural error

          or omission warranting remand if not outright reversal in his case.

       b. John further argued that the Hearing Officer improperly shifted the burden of proof in

          the case. Because John was too intoxicated to recall anything that occurred on the

          night of March 6, 2020, he would not be able to prove that his accuser consented to

          any alleged sexual activity or definitively show that no such alleged conduct took

          place. As a result, and based on the female complainant’s unclear assertions of feeling

          “not okay” about the alleged conduct in the days following, the Hearing Officer ruled

          that John had committed a sexual assault.

       c. John also alleged A&M’s failure to confer with a medical expert concerning the

          potential physiological effects resulting from John’s high BAC level (0.232)

          restricted his ability to vigorously defend himself against the allegations.

53. Less than 24 hours after John filed his appeal, he received a letter from the Interim

   Chairperson for the University Disciplinary Appeals Panel (“UDAP”) summarily rejecting it.

   In accordance with University rules governing students’ appeals process, the record reviewed

   by UDAP would have contained the appeal request, the investigation report (134 pages

   including exhibits), the Hearing Officer’s decision letter, as well as video footage of the Title

   IX hearing (approximately six hours in length in John’s case).

54. Importantly, the appellate authority who denied John’s appeal seemingly recognized that the

   absence of expert testimony from a medical professional limited John’s ability to defend

   himself. In her letter, she noted “consultation with a medical expert would allow




                                                15
     Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 16 of 84




   ‘exploration’ of your capacity, but still would not have provided definitive proof of your

   ability to do the things [alleged].” Despite this, she found that “this would not likely have

   substantially altered the information available . . . [and it was therefore] unlikely this would

   have altered the outcome.”

       a. The limited bases for appeal provided by A&M’s rules do not require that any

             procedural errors alleged by the appealing party would have undoubtedly altered the

             outcome in a given case. A procedural error’s potential to affect or alter the outcome

             in a significant way would thus warrant further appellate review. See, e.g., Rule 6.1 of

             A&M Rule 08.01.01.M1.01, attached as Exhibit 3 at p. 20.

55. In her letter denying Plaintiff’s appeal, the Interim Chairperson for UDAP advised that,

   “[a]fter reviewing the record and the submitted appeal documents, the appeal will not move

   forward.” The letter concluded by advising John that “[t]his decision is final and there is no

   point of appeal beyond this process.”

                          COUNT I – DECLARATORY JUDGMENT

A. Title IX

56. Plaintiff repeats and incorporates all the allegations of this Complaint, as if fully set forth

   herein.

57. Title IX of the Education Amendments of 1972 (Title IX), 20 U.S.C. §§ 1681 et seq., and its

   implementing regulations, 34 C.F.R. Part 106, prohibit discrimination on the basis of sex in

   education programs or activities operated by recipients of Federal financial assistance. Title

   IX provides in pertinent part: “No person . . . shall, on the basis of sex, be excluded from

   participation in, be denied the benefits of, or be subjected to discrimination under any

   education program or activity receiving Federal financial assistance.”




                                                  16
     Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 17 of 84




58. Defendant A&M is an education program or activity operated by recipients of Federal

   financial assistance.

59. Like many education programs throughout the nation, A&M has been under continual

   pressure to impose discipline on students to avoid pressure from the Department of

   Education.

60. Title IX bars the imposition of university discipline where gender is a motivating factor in

   the decision to discipline.

       a. Although John and the female student allegedly both engaged in the same conduct –

           sexual contact with an intoxicated person – only the male, John, was subject to

           discipline by A&M.

       b. The gender of the alleged victim was the motivating factor in the decision to impose

           discipline.

61. A&M thus permitted impermissible gender bias against John in the investigation and

   adjudication of the March 6, 2020 incident.

62. The decision of the Hearing Officer and the subsequent affirming decision issued by the

   Interim Chairperson for the UDAP were erroneous outcomes, which were the direct result of

   a flawed proceeding.

63. Particular circumstances suggest that gender bias was a motivating factor behind the

   erroneous finding and the decision to impose discipline upon John. These circumstances

   include:

       a. A general atmosphere at A&M, and many other universities across the country, where

           those who lodge a complaint of sexual assault are immediately treated as “survivors.”




                                                 17
     Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 18 of 84




       b. The failure of A&M to provide adequate due process in the hearing and appeals

             process.

64. The circumstances of the investigation and hearing cast doubt on the accuracy of the outcome

   of the disciplinary proceeding.

65. John and the Defendant have a dispute about whether A&M’s Sexual Misconduct Policy,

   both facially and as applied to John, violates Title IX.

66. John is entitled to a declaration that A&M’s Sexual Misconduct Policy violates Title IX.

B. Due Process

67. Plaintiff incorporates, by reference, each and every preceding paragraph as if fully restated

   herein.

68. The Fifth Amendment to the United States Constitution, made applicable to the State of

   Texas by the Fourteenth Amendment, provides that no person shall “be deprived of life,

   liberty, or property, without due process of law.”

69. The Fourteenth Amendment to the United States Constitution provides that no state shall

   deprive “any person of life, liberty, or property, without due process of law.”

70. The Due Process Clause of the United States Constitution is implicated by higher education

   disciplinary decisions, including the disciplinary decisions under A&M’s Sexual Misconduct

   Policy.

71. A&M had a constitutional obligation to provide a fundamentally fair and reliable hearing

   process.

72. A&M had an obligation to undertake a full, fair, and impartial investigation.

73. John was entitled under the Constitution of the United States the opportunity to be heard in a

   meaningful manner at A&M’s hearing.




                                                18
     Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 19 of 84




74. John’s interests in the results of the investigative and hearing process are significant.

       a. Suspension from A&M would deny John the benefits of education at his chosen

           school, at least temporarily if not permanently.

       b. Suspension and other sanctions would also damage John’s academic and professional

           reputation.

       c. Suspension and/or other sanctions are likely to affect John’s ability to enroll at other

           institutions of higher education and to pursue a career.

75. Defendant Texas A&M University violated John’s due process rights in the following

   manner:

       a. Defendant did not undertake a full, fair, and impartial investigation.

       b. Defendant did not permit John to be fully and effectively represented by counsel.

       c. Defendant permitted the use of hearsay evidence at the hearing without providing

           John the opportunity to effectively cross-examine witnesses.

       d. Defendant relied upon a “preponderance of the evidence” standard.

76. John and the Defendant have a dispute about whether A&M’s Sexual Misconduct Policy,

   both facially and as applied to John, violates the Due Process Clause of the United States

   Constitution.

77. John is entitled to a declaration that A&M’s Sexual Misconduct Policy violates the Due

   Process Clause of the United States Constitution.




                                [ continued on the following page ]




                                                 19
     Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 20 of 84




                                    COUNT II – TITLE IX
                     Title IX: Erroneous Outcome & Selective Enforcement
                                    20 U.S.C. § 1681, et seq.

A. Erroneous Outcome

78. Plaintiff incorporates, by reference, each and every preceding paragraph as if fully restated

   herein.

79. Title IX applies to an entire school or institution of higher education if any part of that school

   receives federal funding. Texas A&M University receives federal funding and is covered by

   Title IX.

80. Title IX “broadly prohibits a funding recipient from subjecting any person to ‘discrimination’

   ‘on the basis of sex.’” A university violates Title IX when it reaches an erroneous outcome in

   a disciplinary proceeding when the reason for that erroneous outcome is gender bias.

81. A&M and its Title IX Office are motivated to portray the University in local and national

   media as being tough on males who are accused of sexual misconduct on campus.

82. The University and its Title IX Office are also motivated to protect the reputation of the

   University by preventing the University from being the target of a Title IX lawsuit from a

   female who has accused a male student of sexual misconduct.

83. The University and its Title IX Office are also motivated to protect the University from

   federal financial penalties for failing to comply with the policies and guidance issued by the

   Department of Education.

84. In the present case, the University, its Title IX investigator, the Hearing Officer, and the

   Interim Chairperson of the UDAP made erroneous rulings in finding John guilty of sexual

   assault and imposing the recommended sanctions against him.




                                                 20
     Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 21 of 84




85. As a result of the foregoing, the University reached an erroneous outcome in the disciplinary

   action against Plaintiff in this case. It reached an erroneous outcome because the process and

   those responsible for carrying out the process are predisposed to favor a female accuser over

   a male who has been accused (even when John himself had also identified as a victim).

B. Selective Enforcement

86. Plaintiff incorporates, by reference, each and every preceding paragraph as if fully restated

   herein.

87. A University is liable for gender discrimination under Title IX if its decision to initiate

   disciplinary proceedings is affected by the student’s gender.

88. Title IX includes an implied private right of action, without any requirement that

   administrative remedies, if any, be exhausted. An aggrieved plaintiff may seek money

   damages and other relief.

89. At most, the evidence obtained during the investigation in this case and at the hearing

   indicated that John and the female student had consensual sex while intoxicated.

90. The male student, John was charged and punished for sexual assault and the female student

   was not. The reason for this inequity is gender bias.

91. If the standard for when a student is unable to consent to sex is truly as low as mere

   intoxication, then the evidence in this case supports the proposition that John was intoxicated

   and therefore unable to consent to sex due to incapacitation.

92. If both students were intoxicated, and therefore incapacitated, then both students were in

   violation of University rules. Under that logic they both should have been suspended if the

   school were not discriminating against males. If intoxication actually invalidates consent,

   then in this case the school is enforcing their rules against the male student.




                                                 21
     Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 22 of 84




93. To the extent incapacitation means something more than mere intoxication at A&M, the fact

   that John’s BAC level was nearly double that of his female accuser’s on the night in question

   further indicates improper gender bias in A&M’s application of its sexual misconduct

   policies.

94. This is intentional gender discrimination under Title IX and it has resulted in disciplinary

   proceedings against John and a concomitant failure to conduct a concurrent investigation

   against his female accuser, who admittedly engaged in sexual activity with John when he was

   intoxicated.

95. A&M thus committed impermissible gender bias against John in the investigation and

   adjudication of the March 6, 2020 incident.

96. As a direct and proximate result of the Defendant’s violations of John’s rights under Title IX,

   John has suffered severe and substantial damages. These damages include diminished

   earning capacity, lost career and business opportunities, litigation expenses including

   attorney fees, loss of reputation, humiliation, embarrassment, inconvenience, mental and

   emotional anguish and distress and other compensatory damages, in an amount to be

   determined by a jury and the Court.

97. Pursuant to 42 U.S.C. § 1988, John is entitled to his attorney’s fees incurred in bringing this

   action.

                             COUNT III – INJUNCTIVE RELIEF

A. Temporary Restraining Order

98. Plaintiff realleges and incorporates all the allegations contained in the preceding paragraphs

   of this Petition as though fully rewritten herein.




                                                 22
       Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 23 of 84




99. Plaintiff seeks this Court’s issuance of an emergency temporary restraining order and

   preliminary injunction against Texas A&M University and halt A&M’s suspension against

   him. Plaintiff will file a motion to this effect concurrently with the filing of his Original

   Verified Complaint.

100.    Pursuant to Local Rule LR7.5.A, Plaintiff respectfully requests this Court hear oral

   arguments concerning his request that an emergency temporary restraining order and, upon

   notice to Defendant, a preliminary injunction issue against A&M to maintain John’s status as

   a student in good standing with the University.

                                         JURY DEMAND

101.    Plaintiff demands trial by jury on all issues and defenses in this case.

                                            DAMAGES

102.    Plaintiff seeks all damages allowed under the law, including monetary relief, and:

        a. Plaintiff seeks an injunction that prohibits Defendant from instituting its one-year

           suspension against John.

        b. Plaintiff seeks compensatory damages for future pecuniary losses, emotional pain,

           suffering, inconvenience, mental anguish, stress, and other nonpecuniary losses.

        c. Plaintiff seeks reasonable attorney’s fees and costs, including reasonable expert fees.

        d. Plaintiff seeks pre- and post-judgment interest at the maximum rate allowed by law.

                                     PRAYER FOR RELIEF

        WHEREFORE, PREMISES CONSIDERED, Plaintiff John Doe respectfully prays that:

        A. Texas A&M University, Defendant, will be cited to appear and answer herein;

        B. A temporary restraining order will issue without notice to Texas A&M University,

           Defendant, Defendant’s officers, agents, servants, employees, successors and assigns,




                                                 23
Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 24 of 84




    and attorneys from directly or indirectly proceeding with Plaintiff’s suspension unless

    and until final resolution of the matter may be reached through trial on the merits or

    subsequent appeal;

 C. The Court not set a bond for the temporary restraining order;

 D. After notice and hearing, a preliminary injunction will issue enjoining and restraining

    Texas A&M University, Defendant, Defendant’s officers, agents, servants,

    employees, successors and assigns, and attorneys from directly or indirectly

    proceeding with the suspension unless and until final resolution of the matter may be

    reached through trial on the merits or subsequent appeal;

 E. And, that this Court grant declaratory judgment as requested herein; and

 F. For such other and further relief, in law or in equity, to which Plaintiff may be justly

    entitled.

                                      Respectfully submitted,

                                      DAVID K. SERGI AND ASSOCIATES, P.C.

                                      /s/ David K. Sergi
                                      DAVID K. SERGI – Attorney in Charge
                                      Texas Bar No. 18036000
                                      Federal Bar No. 755
                                      Email: david@sergilaw.com
                                      KATHERINE FRANK
                                      Texas Bar No. 24105630
                                      Email: katie@sergilaw.com
                                      329 S. Guadalupe St.
                                      San Marcos, TX 78666
                                      Tel. (512) 392-5010
                                      Fax. (512) 392-5042

                                      LAW OFFICE OF ANITA KAWAJA
                                      Anita Kawaja
                                      State Bar No. 24003282
                                      Federal Bar No. 26012
                                      Email: Anita@AnitaKawajaLaw.com



                                         24
    Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 25 of 84




                                             P.O. Box 31400
                                             Houston, TX 77231
                                             Tel.: (713) 775-5679

                                             COUNSEL FOR PLAINTIFF
                                             JOHN DOE




                                CERTIFICATE OF SERVICE

       I certify that on December 22, 2020 a true and correct copy of Plaintiff's Original

Verified Complaint was served on Ray Bonilla, general counsel for the Texas A&M University

System, electronically through email correspondence via rbonilla@tamus.edu.


                                             /s/ David K. Sergi
                                             David K. Sergi




                                               25
            Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 26 of 84


     Exhibit 1

                                                       UNIVERSITY RULE

08.01.01.M1                     Prohibited Conduct: Discrimination, Harassment, Complicity, and
                                Related Retaliation based on a Protected Characteristic
                                Approved February 29, 2012
                                Revised September 16, 2016
                                Revised August 5, 2019
                                Next scheduled review: August 5, 2024


Rule Summary



Six core values are at the heart of what Texas A&M University is all about: loyalty, integrity, excellence,
leadership, respect and selfless service. Consistent with these values, the University reaffirms its
commitment to providing a safe and non-discriminatory learning, living, and working environment for all
members of the University community.

Texas A&M University bars Students, Employees and Third Parties from engaging in discrimination
and/or harassment on the basis of race, color, sex, gender identity, age, religion, disability, national origin,
sexual orientation, genetic information or veteran status. In addition, acting in complicity with another
who engages in any of these forms of Prohibited Conduct, or retaliating against a person who participates
in protected activity, is also prohibited.


Definition of Prohibited Conduct


Prohibited Conduct under this Rule includes discrimination, harassment (including non-consensual
sexual contact, sexual assault, sexual exploitation, dating abuse/violence, domestic abuse/violence,
stalking, quid pro quo and hostile environment sexual harassment), complicity, and retaliation.



Official Rule/Responsibilities


1.        RULE AGAINST PROHIBITED CONDUCT
          1.1        Students, University Employees and Third Parties shall not engage in Prohibited Conduct,
                     including acting in complicity with another who engages in Prohibited Conduct, or

08.01.01.M1 Prohibited Conduct: Discrimination, Harassment, Complicity, and Related Retaliation   Page 1 of 6
             Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 27 of 84




                     retaliating against a person who reports or participates in the reporting or investigation of
                     Prohibited Conduct.

           1.2       This Rule applies to all University 1) Students, 2) Employees, including all full-time and
                     part-time faculty1, full-time and part time staff, temporary employees, professional
                     research staff, and post-doctoral fellows (“Employees”); and, 3) contractors, vendors,
                     visitors, volunteers, guests or other third parties (“Third Parties”).

           1.3       This Rule applies to acts of “Prohibited Conduct” committed by Students, Employees or
                     Third Parties when:
                     (a) The conduct occurs on University grounds or other property owned or controlled by
                         the University;
                     (b) The conduct occurs in the context of a University employment or education program
                         or activity, including, but not limited to, University-sponsored education abroad,
                         research, on-line, or internship programs; or
                     (c) The conduct occurs outside the context of a University employment or education
                         program or activity but creates a hostile environment for Students, Employees, or Third
                         Parties while on University grounds or other property owned or controlled by the
                         University or in any University employment or education program or activity. The
                         Assistant Vice President and Title IX Officer or designee shall decide whether this Rule
                         shall be applied to such conduct on a case by case basis. The decision of the Assistant
                         Vice President and Title IX Officer is final and unappealable.

           1.4       Some conduct, while inappropriate, does not rise to the level of Prohibited Conduct. These
                     behaviors will be addressed by the appropriate disciplinary authority (e.g., Department
                     Head, Student Conduct, Human Resources, etc.) under rules or regulations other than this
                     rule.

           1.5       This Rule applies to all reports of Prohibited Conduct received by the University on or after
                     August 5, 2019.

2.         REPORTING OBLIGATIONS
           Except for (1) employees identified as Confidential Employees in this Rule, and/or (2) employees
           who have received a reporting exemption from the Office of Risk, Ethics, and Compliance (OREC)
           for IRB-approved research, all other TAMU Employees who experience, observe, or become
           aware of Prohibited Conduct must promptly report all known information, including the identities
           of witness and involved parties, to the University as set forth below. Students workers are not
           required to report Prohibited Conduct if the student worker experiences, observes or becomes
           aware of the Prohibited Conduct outside the context of their student worker employment.
           Employees who become aware of Prohibited Conduct should advise the reporter (1) that they
           cannot keep reports of Prohibited Conduct confidential, and (2) that they are required to report the
           Prohibited Conduct to the University. Students, staff, and faculty should be aware that sharing
           information about Prohibited Conduct with an employee of the University, other than an employee


1
    Although they are not employees, affiliated faculty will be treated as faculty for the purpose of this rule and 08.01.01.M1.01

08.01.01.M1 Prohibited Conduct: Discrimination, Harassment, Complicity, and Related Retaliation                Page 2 of 6
            Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 28 of 84




          identified as a Confidential Employee in this Rule, will result in that employee sharing the
          information with an appropriate University official for review and investigation.

          Students and Third Parties are strongly encouraged (but not required) to report Prohibited Conduct.

          Allegations of sexual or gender-based harassment, sexual assault, sexual exploitation,
          nonconsensual sexual contact, stalking, domestic violence or dating violence disclosed to
          Confidential Employees will not be reported to the University, except as required by law. For
          example, licensed healthcare providers at the Student Health Services report de-identified statistics
          regarding this conduct to the University in compliance with the Clery Act.

          Confidential Employees are available to support both Complainants and Respondents.

          2.1        Reporting to the University

                     Reports that a Student, Employee or a Third Party has engaged in Prohibited Conduct
                     should be made to the Department of Civil Rights and Equity Investigations (CREI), as
                     follows:

                          Jennifer Smith
                          Assistant Vice President and Title IX Officer
                          Medical Sciences Library
                          202 Olsen Blvd, Suite 007
                          College Station, TX 77843
                          (979) 458-8407
                          civilrights@tamu.edu

                     Reports that the Texas A&M President, or an employee who reports directly to the
                     President, has engaged in Prohibited Conduct should be made to the Texas A&M System
                     Ethics and Compliance Office, as follows:

                                Texas A&M System Ethics and Compliance Office
                                301 Tarrow, 6th floor
                                College Station, TX 77843
                                (979) 458-6120
                                Civilrightsreporting@tamus.edu

          2.2        Additional Options for Reporting to the University

                          (a) Individuals wishing to submit an anonymous report may do so through Tell
                              Somebody, an electronic reporting option. Anonymous reporting may limit the
                              University’s ability to respond to the allegation.

                     Individuals may, but are not required to, report Prohibited Conduct to their direct
                     supervisor, who should immediately report the information to CREI, as follows:


08.01.01.M1 Prohibited Conduct: Discrimination, Harassment, Complicity, and Related Retaliation   Page 3 of 6
            Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 29 of 84




                          Jennifer Smith
                          Assistant Vice President and Title IX Officer
                          Medical Sciences Library
                          202 Olsen Blvd, Suite 007
                          College Station, TX 77843
                          (979) 458-8407
                          civilrights@tamu.edu

          2.3        Reporting to Law Enforcement

                     Notwithstanding the mandatory reporting requirement for employees in section 2, anyone
                     may report matters that they believe are criminal to the appropriate local law enforcement
                     agency. A Complainant may request assistance from CREI in notifying law enforcement
                     authorities and always has the right to decline to notify law enforcement.

                     A report to law enforcement, even to the University Police Department (UPD), is
                     separate from a report to the University under this Rule. An individual wishing to
                     simultaneously pursue a law enforcement investigation and a University resolution of
                     Prohibited Conduct should make a report to both entities.
          2.4        Employees receiving a report under this Rule may not disclose the identity of the
                     Complainant to any law enforcement authority unless:
                       (a) expressly authorized by the Complainant;
                       (b) imminent threat to health or safety exists; or
                       (c) required by law.

          2.5        Although a report of Prohibited Conduct may be made at any time, regardless of when the
                     alleged conduct occurred, a report should be filed as soon as possible after the action that
                     caused the report. Prompt reporting assists investigators in the collection and preservation
                     of evidence.
          2.6        Individuals may file a complaint at any time with any local, state or federal civil rights
                     office, including, but not limited to, the Equal Employment Opportunity Commission, the
                     Texas Workforce Commission’s Civil Rights Division, the U.S. Department of
                     Education’s Office of Civil Rights and the U.S. Department of Justice.

          2.7        The filing of a complaint will not stop, delay, or affect pending personnel or disciplinary
                     actions. This includes, but is not limited to, performance evaluations or disciplinary actions
                     related to an employee or student who is not performing at acceptable levels or standards
                     or who has violated System policies, regulations, or University rules.

          2.8        When a student reports, in good faith, experiencing or witnessing an incident of sexual
                     harassment, sexual assault, sexual exploitation, dating abuse/violence, domestic
                     abuse/violence, or stalking, the University will not take disciplinary action against that
                     student for violations of the Student Conduct Code occurring at or near the time of the
                     incident reported. The University may, however, investigate to determine whether a report
                     of an incident of sexual harassment, sexual assault, sexual exploitation, dating

08.01.01.M1 Prohibited Conduct: Discrimination, Harassment, Complicity, and Related Retaliation    Page 4 of 6
            Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 30 of 84




                     abuse/violence, domestic abuse/violence, or stalking was made in good faith. The amnesty
                     given in this section does not apply to a student who reports the student's own commission
                     or complicity in the commission of sexual harassment, sexual assault, dating
                     abuse/violence, domestic abuse/violence, or stalking. The decision to grant or deny
                     amnesty is final and cannot be appealed or revoked.

3.        UNIVERSITY RESPONSE TO REPORTS OF PROHIBITED CONDUCT
          The University’s response to allegations of Prohibited Conduct will be 1) prompt and equitable;
          2) intended to stop and prevent the recurrence of any harassment; and 3) intended to remedy its
          discriminatory effects, as appropriate. A substantiated allegation of prohibited conduct will result
          in disciplinary action, up to and including termination of employment or separation from the
          University. Third Parties who commit Prohibited Conduct may have their relationships with the
          University terminated and/or their privileges of being on University premises withdrawn.

          The procedures for responding to allegations of Prohibited Conduct committed by Students,
          Employees and

          Third Parties are detailed in SAP 08.01.01.M1.01, Investigation and Resolution of Allegations of
          Prohibited Conduct Against Students, Employees and Third-Parties.

4.        WHERE THE RESPONDENT HAS MULTIPLE ROLES AT THE UNIVERSITY: If the
          Respondent has multiple roles, such as when the Respondent is both a student and an employee,
          the Chief Risk, Ethics, and Compliance Officer will consult with other relevant University
          Officials and then determine which procedure(s) to follow in the investigation and resolution of
          the allegations of Prohibited Conduct as well as other policy violations. The Chief Risk, Ethics,
          and Compliance Officer will consider the known facts and circumstances, including which role
          predominates in the context of the Prohibited Conduct.


Related Statutes, Policies, or Requirements


System Policy 08.01 Civil Rights Protections and Compliance

System Regulation 08.01.01 Civil Rights Compliance

University SAP 08.01.01.M1.01, Investigation and Resolution of Allegations of Prohibited Conduct Against
Students, Employees and Third-Parties


Contact Office




08.01.01.M1 Prohibited Conduct: Discrimination, Harassment, Complicity, and Related Retaliation   Page 5 of 6
            Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 31 of 84




Department of Civil Rights and Equity Investigations




08.01.01.M1 Prohibited Conduct: Discrimination, Harassment, Complicity, and Related Retaliation   Page 6 of 6
Exhibit    2
          Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 32 of 84


  08.01.01 Civil Rights Compliance
                     Revised July 7, 2020 (Effective August 14, 2020)
                     Next Scheduled Review: July 7, 2025
                     Click to view Revision History.


     Regulation Summary


     The Texas A&M University System (system) will provide equal opportunity to all employees,
     students, applicants for employment and admission, and the public. This regulation provides
     guidance to each member in complying with local, state and federal civil rights laws and
     regulations (laws) and related system policy.

     All complaints, appeals, or reports of discrimination received by the system will be appropriately
     reviewed and addressed in accordance with this regulation.

     This regulation establishes systemwide standards for each member’s receipt and processing of
     reports, complaints, formal complaints, investigations, adjudication, appeals, and use of informal
     resolution in cases involving allegations of discrimination, harassment and/or related retaliation
     based on a protected class (discrimination), including complaints made by employees, students
     and/or third parties.

     A member also has a duty to respond to inappropriate employee or student conduct that does not
     constitute discrimination under this regulation. See System Policy 32.02, Discipline and Dismissal
     of Employees; System Regulation 32.02.02, Discipline and Dismissal of Nonfaculty Employees;
     and System Policy 12.01, Academic Freedom, Responsibility and Tenure. For student misconduct,
     see the member’s student code of conduct.


     Definitions


     Advisor – an individual selected by each complainant and respondent to provide guidance during
     the investigation and resolution process and to conduct cross-examination when a complaint is
     referred to a formal hearing. An advisor may be an attorney. A member may appoint an advisor
     of the member’s choice for a complainant or respondent for a hearing if either party does not have
     an advisor present. Advisors may not otherwise represent or speak for the party they are advising.
     Each party is allowed one advisor, although members may establish circumstances under which a
     second advisor would be permitted (e.g., accommodating a party with a disability). See Section
     4.2.5.

     Appellate authority – an individual or panel responsible for rendering appeal decisions as specified
     in member rules. The role of the appellate authority is to review the process by which an original
     decision was reached and render an appellate decision, consistent with the grounds for appeal. Title
     IX Coordinators may not serve as an appellate authority in any case involving an allegation of
     discrimination or harassment based on sex.

     08.01.01 Civil Rights Compliance                                                         Page 1 of 29
     Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 33 of 84


Coercion – the act, process, or power of compelling a person to take an action, make a choice, or
allow an act to happen that they would otherwise not choose or give consent to.

Complainant – the individual(s) who is alleged to have been subjected to discrimination.

Complaint - an oral or written report of an alleged violation of this regulation. A complaint may
be filed by a complainant, any system member employee or student, or a third party. The complaint
does not have to meet the definition of a “formal complaint” (see below).

Confidential – communication that cannot legally be disclosed to another person without the
consent of the individual who originally provided the information, except under very limited
circumstances such as allegations of elderly, disabled or child abuse; an imminent threat of injury
or to the life of any person; or as required by law.

Confidential reporter – an employee designated or permitted by a member to receive complaints
of discrimination and maintain confidentiality. Confidential Reporters are required to provide
general nonidentifying information as required to comply with the Clery Act, and must report to
the Title IX Coordinator any type of sex-based incident made known to them, but may not include
any information that would violate that person’s expectation of privacy. Exceptions to
confidentiality/privacy include reports of child abuse, abuse or neglect of disabled or elderly
persons, and when a party poses an imminent danger to themselves or others.

Consent – clear, voluntary and ongoing agreement to engage in a specific sexual act. Persons need
not verbalize their consent to engage in a sexual act for there to be permission. Permission to
engage in a sexual act may be indicated through physical actions rather than words. A person who
is asleep or mentally or physically incapacitated, either through the effect of drugs or alcohol or
for any other reason, or whose agreement was made by threat, coercion, or force, cannot give
consent. Consent may be revoked by any party at any time.

Dating violence – violence committed by a person who is or has been in a social relationship of a
romantic or intimate nature with the victim.
    (a) The existence of such a relationship will be determined based on the reporting party's
        statement and with consideration of the length of the relationship, the type of relationship,
        and the frequency of interaction between the persons involved in the relationship.
    (b) For the purposes of this definition:
        (1) Dating violence includes, but is not limited to, sexual or physical abuse or the threat of
            such abuse.
        (2) Dating violence does not include acts covered under the definition of domestic violence.
            [34 U.S.C. 12291(a)(10)]

        Dating violence is explicitly prohibited under this regulation. Aiding another in the
        commission of dating violence is also prohibited under this regulation. Dating violence is
        a form of sexual harassment or sex-based misconduct.

Designated administrator – the decision-making entity specified in member rules. This may be an
administrator or a hearing officer/panel but may not include a person with a clear conflict of
interest (e.g., supervisor, subordinate, and/or family member of either party) or personal bias. The
role of the designated administrator is to determine whether or not allegations of misconduct rise
08.01.01 Civil Rights Compliance                                                           Page 2 of 29
     Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 34 of 84


to the level of a violation of this regulation based on the evidence provided and utilizing the
preponderance of the evidence standard. The designated administrator cannot have served as an
investigator nor may they later serve as an appellate authority in the same case. Title IX
Coordinators may not serve as a designated administrator in any case involving an allegation of
discrimination or harassment based on sex. Designated administrators may consist of a single
decision-maker (hearing officer for formal hearings) or a group of decision makers (hearing panel
for formal hearings). When a hearing panel is utilized by a member, it must be chaired by a voting
member and consist of an odd number of total voting members.

Discrimination - a materially adverse action or actions that intentionally or unintentionally
excludes one from full participation in, denies the benefits of, or affects the terms and conditions
of employment or access to educational or institutional programs because of an individual’s race,
color, sex, religion, national origin, age, disability, genetic information, veteran status, sexual
orientation, gender identity, or any other classification protected by federal, state, or local law.
Discrimination includes harassment (based on both hostile environment and quid pro quo) and
retaliation based on a legally protected category.

Domestic violence – a felony or misdemeanor crime of violence committed by:
    (a) a current or former spouse or intimate partner of the victim;
    (b) a person with whom the victim shares a child in common;
    (c) a person who is cohabitating with, or has cohabitated with, the victim as a spouse or intimate
        partner;
    (d) a person similarly situated to a spouse of the victim under the domestic or family violence
        laws of the jurisdiction in which the crime of violence occurred; or
    (e) any other person against an adult or youth victim who is protected from that person's acts
        under the domestic or family violence laws of the jurisdiction in which the crime of
        violence occurred. [34 U.S.C. 12291(a)(8)]

    Domestic violence is explicitly prohibited under this regulation. Aiding another in the
    commission of domestic violence is also prohibited under this regulation. Domestic violence
    is a form of sexual harassment or sex-based misconduct.

Educational program or activity – an “educational program or activity” is interpreted broadly
to include all of the member’s operations, including locations, events, or circumstances over
which the member exercised substantial control over both the respondent and the context in
which the alleged discriminatory behavior occurred, including any building owned or controlled
by a student organization that is officially recognized by the system member.

Employee – all personnel employed by the member including faculty, staff and students who
receive compensation in either a full- or part-time capacity. Employees who are also students
would have their status in the civil rights process determined by the context of the allegations;
these individuals are subject to civil rights processes, as well as student conduct and employment
standards set by the member.

Exculpatory evidence – evidence that would tend to support a finding that a respondent did not
commit the alleged misconduct.


08.01.01 Civil Rights Compliance                                                           Page 3 of 29
     Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 35 of 84


Formal complaint – a document or electronic submission (such as by electronic mail or through an
on-line portal provided for this purpose) filed by a complainant, or signed by the Title IX
Coordinator, alleging sex-based discrimination against a respondent and requesting that the
member investigate the allegation(s). The formal complaint must contain the complainant’s
physical or digital signature, or otherwise indicate that the complainant is the person filing the
complaint. Alternatively, a Title IX Coordinator may sign a formal complaint but is not a
complainant or otherwise a party to the complaint.

Hostile environment – a situation in which there is unwelcome harassing conduct based on a
legally protected class that is severe, persistent, or pervasive enough to create a work, educational,
or campus living environment that a reasonable person would consider objectively offensive. The
determination of whether an environment is “hostile” must be based on all of the circumstances,
which may include the frequency of the conduct, the nature and severity of the conduct, whether
the conduct was physically threatening or humiliating, and/or the mental or emotional effect of the
conduct on the individual(s) subjected to the alleged discrimination.

Incapacitated – a state in which a person, due to a disability, the use of alcohol or drugs, being
asleep, or for any other reason, is not capable of making rational decisions about consent to sexual
activity and recognizing the consequences of their decision.

Inculpatory evidence – evidence that would tend to support a finding that a respondent is
responsible for alleged misconduct.

Informal resolution – resolution of a civil rights complaint without the use of a formal hearing.
Informal resolutions may or may not involve the establishment of findings of fact and the
application of sanctions.

Investigative authority – one or more trained individuals appointed to conduct a formal
investigation to discover and examine the facts of an allegation and conclude if, based on the
preponderance of the evidence, the allegation is substantiated, unsubstantiated, or if there is
insufficient information. In complaints involving allegations of sex-based behaviors, the
investigative authority will be limited to only reporting the evidence collected during the
investigation, as well as issuing appropriate determinations surrounding credibility of witnesses
and evidence.

Member – any or all members of The Texas A&M University System, including universities,
agencies and System Offices.

Misconduct – an action or actions that violate published behavioral standards.

Objectively offensive – behavior determined by a reasonable person to be offensive.

Offensive – actions that cause unreasonable harm or distress to another individual or group of
people.

Persistent – conduct occurring frequently over an unspecified period of time.

Pervasive – conduct existing in or spreading over a large area of an activity or program over a
period of time.

08.01.01 Civil Rights Compliance                                                           Page 4 of 29
     Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 36 of 84


Predation – an intent to engage in acts of misconduct prior to their occurrence demonstrating
premeditation, planning or forethought, and is reflected in communicated intent (physical, verbal,
visual, or written), threats directed at a party, attempts to incapacitate a party, attempts to isolate a
party, utilizing physical force or violence, or other actions that a reasonable person would construe
as a pre-meditation to engage in actions that are unwanted by/against the recipient. Committing
any of these actions with an individual under the age of consent is also considered predatory.

Preponderance of the evidence – what is more likely than not to be true, based on the totality of
the available evidence. The preponderance of the evidence is the standard of evidence used for all
determinations made under this regulation.

Private – that which affects, characterizes, or belongs to an individual person, as opposed to the
general public. With respect to this regulation, private means restricting information to those with
a reasonable need to know.

Private body parts – a person’s breast, posterior (butt), groin, and/or genitals.

Quid pro quo sexual harassment – “this” for “that”; i.e., unwelcome sexual advances, requests for
sexual favors or other verbal, nonverbal or physical conduct of a sexual nature, the submission to
or rejection of which may result in an adverse educational or employment action. Quid pro quo
sexual harassment is explicitly prohibited under this regulation. Aiding another in the commission
of quid pro quo sexual harassment is also prohibited under this regulation.

Reasonable person – a comparative standard on one person’s assessment of an action, actions, or
situation compared with how most persons might act or react based on similar circumstances. This
standard considers the identities of an individual as well as the context of the actions being
evaluated.

Remedies – actions taken to restore or preserve equal access to the member’s education program
or activity. Remedies may be disciplinary in nature and may burden the respondent.

Reporter – an individual who observed or was made aware of an alleged violation and who
provides an initial oral or written account of an alleged violation of this regulation.

Respondent – an individual who has been alleged to have engaged in discriminatory conduct as
defined in system policy and this regulation.

Retaliation -– intimidation, threats, coercion, or discrimination against any individual for the
purpose of interfering with any right or privilege secured under civil rights laws and regulations,
or because the individual has made a report or complaint, testified, assisted, or participated or
refused to participate in any manner in an investigation, proceeding, or hearing. The exercise of
rights protected under the First Amendment does not constitute prohibited retaliation, nor does the
filing of a mandatory report as required by Section 2.1 of this regulation. In addition, a university
official who files a mandatory report or charges an individual with making a materially false
statement in the course of an investigation has not engaged in prohibited retaliation. Retaliation
is explicitly prohibited under this regulation. Aiding another in the commission of retaliation is
also prohibited under this regulation.

Severe – of sufficient seriousness to interfere with the rights, privileges, and legal activities of an
individual, as well as actions that would be deemed by a reasonable person to be extreme or life-
threatening.
08.01.01 Civil Rights Compliance                                                             Page 5 of 29
     Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 37 of 84



Sexual assault – an offense that meets the definition of rape, fondling, incest or statutory rape as
used in the FBl's Uniform Crime Reporting system. A sex offense is any sexual act directed against
another person, without the consent of the victim, including instances in which the victim is
incapable of giving consent. These offenses are defined as:

    Rape: The penetration, no matter how slight, of the vagina or anus with any body part or object,
    or oral penetration by a sex organ of another person, without the consent of the victim.

    Fondling: The touching of the private body parts of another person for the purpose of sexual
    gratification, without the consent of the victim, including instances where the victim is
    incapable of giving consent because of his/her age or because of his/her temporary or
    permanent mental incapacity.

    Incest: Sexual intercourse between persons who are related to each other within the degrees
    wherein marriage is prohibited by law.

    Statutory Rape: Sexual intercourse with a person who is under the statutory age of consent.

    Sexual assault is explicitly prohibited under this regulation. Aiding another in the commission
    of sexual assault is also prohibited under this regulation. Sexual assault is a form of sexual
    harassment or sex-based misconduct.

Sex-based misconduct – unwelcome conduct on the basis of sex that is severe, persistent, or
pervasive enough to create a work, educational, or campus living environment that a reasonable
person would consider intimidating, abusive, or offensive. Sex-based misconduct is
explicitly prohibited under this regulation. Aiding another in the commission of sex-based
misconduct is also prohibited under this regulation. Sex-based includes, but is not limited to,
sexual assault, sexual exploitation, dating violence, domestic violence, and stalking based on sex.

Sexual exploitation – a situation in which an individual(s) takes non-consensual or abusive sexual
advantage of another for his or her own advantage or benefit, or to benefit or advantage anyone
other than the one being exploited. For example, sexual exploitation could include such actions
as secretly videotaping sexual activity, voyeurism, sexually-based stalking, invasion of sexual
privacy, exposing one’s genitals or causing another to expose one’s genitals, and knowingly
exposing another person to a sexually transmitted infection or disease. Sexual exploitation is a
form of sex-based misconduct.

Sexual harassment – a form of sex discrimination. Unwelcome conduct on the basis of sex (of a
sexual nature or otherwise): (1) by an employee of the member who conditions the provision of an
aid, benefit, or service of the member on an individual’s participation in that unwelcome sexual
conduct; (2) determined by a reasonable person to be so severe and pervasive and objectively
offensive that it effectively denies a person equal access to the member’s education program or
activity; or (3) sexual assault or dating violence, domestic violence, or stalking based on sex.

Stalking – engaging in a course of conduct directed at a specific person that would cause a
reasonable person to:
    (a) fear for the person's safety or the safety of others; or
    (b) suffer substantial emotional distress.
08.01.01 Civil Rights Compliance                                                         Page 6 of 29
     Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 38 of 84


    For the purposes of this definition:
    (a) Course of conduct means two or more acts, including, but not limited to, acts in which the
        stalker directly, indirectly, or through third parties, by any action, method, device, or
        means, follows, monitors, observes, surveils, threatens, or communicates to or about a
        person, or interferes with a person's property.
    (b) Reasonable person means a reasonable person under similar circumstances and with similar
        identities to the victim.
    (c) Substantial emotional distress means significant mental suffering or anguish that may, but
        does not necessarily, require medical or other professional treatment or counseling. [34
        CFR 668.46(a)]

    Stalking is explicitly prohibited under this regulation. Aiding another in the commission of
    stalking is also prohibited under this regulation. Stalking based on sex is a form of sexual
    harassment or sex-based misconduct.

Student – individual enrolled in member universities or someone who has accepted an offer of
admission or, if not currently enrolled, otherwise has a continuing relationship with the university;
for example, someone enrolled in a future semester. Students who are also employees would have
their status in the civil rights process determined by the context of the allegations; these individuals
are subject to civil rights processes as well as student conduct and employment standards set by
the member.

Supportive measures – non-disciplinary, non-punitive individualized services offered as
appropriate, as reasonably available, and without fee or charge to the complainant or the
respondent before or after the filing of a formal complaint or where no formal complaint has been
filed. Such measures are designed to restore or preserve equal access to the member’s education
program or activity without unreasonably burdening the other party, including measures designed
to protect the safety of all parties or the member’s educational or work environment, or deter sexual
harassment. Supportive measures may include counseling, extensions of deadlines or other
course-related adjustments, modifications of work or class schedules, campus escort services,
mutual restrictions on contact between the parties, changes in work or housing locations, leaves of
absence, increased security and monitoring of certain areas of the campus or workplace, and other
similar measures.

Title IX Coordinator – an employee designated and authorized to coordinate the member’s efforts
to comply with its responsibilities under the Title IX of the Education Amendments of 1972 Act.


Regulation


1. RESPONSIBILITIES OF MEMBERS

    Each member chief executive officer (CEO) has the primary responsibility for ensuring
    compliance with civil rights laws and related system policy.

    1.1 The CEO must designate a contact person(s) responsible for overseeing its civil rights
        protections program. This person(s) will ensure that all complaints of discrimination are
08.01.01 Civil Rights Compliance                                                            Page 7 of 29
     Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 39 of 84


          promptly, thoroughly, and equitably investigated and resolved in accordance with this
          regulation. The designee(s) will periodically follow up on situations in which
          discrimination is found to ensure that the situation does not reoccur.

    1.2 Members must designate at least one Title IX Coordinator, who may or may not be the
        same employee designated in 1.1 above. Members must notify applicants for admission
        and employment, students, parents or legal guardians of elementary and secondary school
        students, and employees of the name or title, office address, electronic mail address, and
        telephone number of the employee(s) designated as the Title IX Coordinator(s). The
        notification should also state that the member does not discriminate on the basis of sex
        in its education programs and activities, including admission and employment, in
        accordance with Title IX of the Educational Amendments of 1972 and its implementing
        regulations. The contact information for the Title IX Coordinator(s) must be prominently
        displayed on the member’s website and in each handbook or catalog that it makes
        available to persons entitled to notification as listed above.

    1.3 Members receiving an inquiry or a charge of discrimination from a local, state or federal
        agency must immediately inform the System Ethics and Compliance Office (SECO)
        which will, in coordination with the System Office of General Counsel (OGC), serve as
        the liaison between the member and the agency.

    1.4 Each member must adopt and publicly display a rule for the receipt, investigation and
        prompt and equitable resolution of discrimination complaints, in accordance with this
        regulation. Rules must be published in student and personnel handbooks or the
        institution’s equivalents, if any, and published on a dedicated website. Individuals
        entitled to notifications as specified in Section 1.2 must be provided notice of the
        member’s grievance process, including how to report or file a complaint of
        discrimination, how to report or file a formal complaint of sexual harassment, and how
        the member will respond.

    1.5 To ensure consistency, thoroughness and impartiality, each member will designate one
        office (designated office) to receive and investigate all complaints involving a student
        respondent(s) and one office (designated office) to receive and investigate all complaints
        involving an employee or third party respondent(s). All complaints can be handled by
        the same office.

    1.6 Member universities must provide orientation training to all entering freshman and
        undergraduate transfer students on sexual harassment, sexual assault, dating violence,
        and stalking during the student’s first semester. Students are required to complete this
        training. The training may be conducted in person or online at the discretion of the
        member university.

    1.7 Member universities must develop and implement comprehensive prevention and
        outreach programs on sexual harassment, sexual assault, dating violence, and stalking.
        These programs must address prevention strategies and reporting protocols. Reporting
        protocols must also be emailed to each student at the beginning of each fall and spring
        semester.

    1.8 To facilitate effective communication and coordination regarding allegations of sexual
        harassment, sexual assault, dating violence, and stalking at the institution, member
08.01.01 Civil Rights Compliance                                                       Page 8 of 29
     Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 40 of 84


          universities must enter into one or more memoranda of understanding with an entity from
          one or more of the following categories, as agreeable to these entities:

          (a) local law enforcement agencies;
          (b) sexual harassment, sexual assault, dating violence, or stalking advocacy groups; and
          (c) hospitals or other medical resource providers.

    1.9 Members must ensure that all of those involved in the administration of civil rights
        complaints (including but not limited to: reporting, administering, investigating,
        adjudicating, advising, and informal resolution) complete annual training specific to their
        roles in accordance with requirements established by SECO. A document entitled
        Minimum Training Requirements for Civil Rights Investigations, Advisement,
        Adjudication, Appeals, and Informal Resolution in The Texas A&M University System,
        is an appendix to this regulation. Training requirements adopted by members must be
        consistent with the Minimum Training Requirements included in the appendix to this
        regulation. All campus law enforcement officers reviewing complaints based on sexual
        harassment, sexual assault, dating violence, and stalking must receive training in trauma-
        informed investigations. All training materials must be published on the member’s
        website.

    1.10 Members must provide a quarterly report to SECO on all alleged violations of System
         Policy 08.01, Civil Rights Protections and Compliance. The format, timeline and
         specific reporting requirements will be developed and communicated by SECO.

2. RESPONSIBILITIES OF ALL EMPLOYEES AND STUDENTS

    2.1 All employees are responsible for ensuring their work and educational environments are
        free from discrimination. When alleged or suspected discrimination is experienced by,
        observed by or made known to an employee in the course and scope of their employment,
        the employee is responsible for promptly reporting that information as outlined in Section
        4.1, except as provided by Section 2.3. An employee’s failure to report alleged or
        suspected discrimination may result in disciplinary action, including dismissal. A
        member must dismiss an employee if, in accordance with its applicable disciplinary
        processes, the member determines that the employee knowingly failed to make a required
        report, or that the employee, with the intent to harm or deceive, knowingly made a report
        that is false.

    2.2 Notwithstanding Section 2.1, an employee is not required to report an incident in which
        that employee was a victim of sexual harassment, sexual assault, dating violence, or
        stalking, or an incident about which the employee received information due to a
        disclosure made at a sexual harassment, sexual assault, dating violence, or stalking public
        awareness event sponsored by the member, or by a student organization affiliated with
        the member, or under circumstances in which the person has either learned of the incident
        during the course of their employer’s review or process, or has confirmed with the
        designated office overseeing the review or process, that the incident has been previously
        reported.

    2.3 Only certain employees may keep complaints of discrimination confidential, such as
        licensed health care personnel and sexual assault advocates who have completed a
08.01.01 Civil Rights Compliance                                                        Page 9 of 29
     Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 41 of 84


          training program approved by the Attorney General of Texas, when acting in this capacity
          as part of their official employment. Researchers are deemed confidential only when the
          research project is federally funded and the identity of research subjects on the specific
          project are deemed confidential by law. These employees must provide information
          required under the Clery Act and other applicable state and federal laws and regulation.
          Confidential reporters must report to the Title IX Coordinator only the type of incident
          made known to them and may not include any information that would violate that
          person’s expectation of privacy.          All other employees informed of possible
          discrimination should advise the reporter that they cannot keep the information
          confidential and are required to report it. Employees should inform the reporter where
          confidential guidance can be obtained, such as the student counseling center or employee
          assistance program. To the extent possible, the member will protect the privacy of all
          parties to the report. (See definitions for “confidential” and “private.”)

    2.4 Each member university must designate one or more persons to serve as a person with
        whom students may speak confidentially concerning incidents involving sexual
        harassment, sexual assault, dating violence, or stalking, and who have reporting
        responsibilities consistent with expectations established in Section 2.3. All students must
        be informed of the existence and identities of these confidential reporters.

    2.5 Requests from complainants to withhold any name, or a request not to investigate or seek
        action against the respondent, will be considered by the member in the context of the
        member’s duty to provide a safe and nondiscriminatory work, educational, and campus
        living environment. This may require that the member take actions when the complainant
        requests no action, such as when violence is involved, when the threat of violence exists,
        or when required by law, as in the case of elderly, disabled, or child abuse. A request to
        withhold information or not to investigate the alleged misconduct may limit the
        member’s ability to respond.

    2.6 In cases in which a complainant has requested that a member not investigate a complaint,
        the member may initiate an investigation based on the seriousness of the allegation,
        whether or not there are multiple allegations, and/or whether or not a respondent poses a
        risk of harm to others. The member must inform the complainant of its intentions to
        investigate or to comply with the request not to investigate.

    2.7 Reporters and complainants may, but cannot be required to, submit a complaint or report
        with any law enforcement authority. Employees receiving a complaint under this
        regulation may not disclose the identity of the complainant to any law enforcement
        authority unless expressly authorized by the complainant, when an imminent threat to
        health or safety may exist, or when required by law.

    2.8 Complainants and respondents may, at any time, file a complaint with any local, state or
        federal civil rights office, including, but not limited to, the Equal Employment
        Opportunity Commission, the Texas Workforce Commission’s Civil Rights Division, the
        U.S. Department of Education’s Office of Civil Rights, and the U.S. Department of
        Justice.

    2.9 Reports of suspected discrimination should contain as much specific information as
        possible to allow for proper assessment of the nature, extent, and urgency of preliminary
        investigative procedures and supportive measures.
08.01.01 Civil Rights Compliance                                                        Page 10 of 29
     Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 42 of 84



    2.10 All employees must, and students should, cooperate fully with those performing an
         investigation pursuant to this regulation. Employees failing to cooperate with those
         performing an investigation may be disciplined, up to and including dismissal.

    2.11 Employees and students must not retaliate against a person for filing a complaint or
         participating in an investigation under this regulation. Employees and students found to
         have retaliated, or intentionally provided false or materially misleading information
         regarding alleged discrimination under this regulation, may be disciplined, up to and
         including dismissal or expulsion. Employees and student must not retaliate against
         administrative personnel (e.g., Title IX Coordinator, Investigative Authority, Decision
         Maker, Hearing Panel members) for processing civil rights investigations under this
         regulation.

          Prohibited conduct includes, but is not limited to:
          (a) attempting to coerce, compel, or prevent an individual from reporting alleged
              discrimination or providing testimony or relevant information;
          (b) removing, destroying, or altering documentation or other evidence (e.g., text
              messages) relevant to the investigation;
          (c) providing false or misleading information to member officials who are involved in
              the investigation and resolution of a complaint, or encouraging others to do so; and
          (d) using intimidation, threats, coercion, or discrimination against any individual for the
              purpose of interfering with any right or privilege secured under civil rights laws and
              regulations, or because the individual participated in any manner in the
              administration, investigation, proceedings, or hearings related to this regulation.

    2.12 All employees are responsible for complying with state law requiring system training on
         equal opportunity and nondiscrimination within 30 days of hire and every two (2) years
         thereafter.

3. RESPONSIBILITIES OF THE SYSTEM ETHICS AND COMPLIANCE OFFICE (SECO)

    3.1 SECO, in coordination with OGC, will serve as the liaison between the members and any
        local, state or federal agency investigating a complaint of discrimination or conducting a
        civil rights audit or review.

    3.2 In coordination with OGC, SECO will provide general guidance on the implementation
        of applicable laws, policies, regulations, rules, and appropriate training.

    3.3 SECO is also responsible for the coordination of all reporting requirements related to
        equal opportunity and affirmative action for the system and its members.

4. CIVIL RIGHTS COMPLAINT PROCESSING

    4.1 Complaints

          4.1.1   Except as specified in Section 2.3 and 2.4, an employee who experiences,
                  observes, or becomes aware of alleged discrimination must promptly report the
08.01.01 Civil Rights Compliance                                                         Page 11 of 29
     Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 43 of 84


                  incident(s) to a member official, administrator or other designee identified in the
                  member’s applicable rule. If an employee reasonably believes that an incident
                  constitutes sexual harassment, sexual assault, or domestic violence, dating
                  violence, or stalking based on sex and that the incident is alleged to have been
                  committed by or against a person who was a student enrolled at or an employee
                  of the institution at the time of the incident, the employee must promptly report
                  the incident to the member’s Title IX Coordinator or Deputy Title IX
                  Coordinator, or designee. Students and third parties (including, but not limited
                  to, anyone receiving services from the member, vendors and private business
                  associates) are strongly encouraged to report the incident(s) promptly to the
                  member’s office designated to receive such complaints. When applicable, an
                  alleged victim of sexual harassment, sexual assault, or domestic violence, dating
                  violence, or stalking based on sex should be encouraged to go to a hospital for
                  treatment and/or preservation of evidence as practicable following an incident.
                  Any person may report sex discrimination, including sexual harassment (whether
                  or not the person reporting is the person alleged to be the victim of conduct that
                  could constitute sex discrimination) in person, by mail, by telephone, or by
                  electronic mail, using the contact information listed for the Title IX Coordinator,
                  or by any other means that results in the Title IX Coordinator receiving the
                  person’s verbal or written report. Such a report may be made at any time
                  (including during non-business hours).
          4.1.2   An employee or student is not required to report discrimination to a direct
                  supervisor or to the alleged offender. The alleged offense may instead be reported
                  to another member official, administrator, supervisor or other designee identified
                  in the member’s applicable rule. Each member must provide an anonymous
                  electronic reporting option for students and employees as provided by state law.

          4.1.3   Except as specified in Sections 2.2 and 2.4, the report must include all information
                  concerning the incident known to the reporting person including whether a
                  complainant has expressed a desire for confidentiality in reporting the incident.

          4.1.4   An employee’s or student’s complaint alleging discrimination should be reported
                  as soon as possible after the action that caused the complaint.

          4.1.5   SECO is designated to receive, review, investigate, and adjudicate complaints
                  against the chancellor, a member Chief Executive Officer (CEO), an employee
                  who reports directly to a CEO or the chancellor, or a Title IX Coordinator. The
                  chancellor or designee will serve as the designated administrator in complaints
                  against a member CEO or an employee who reports directly to a CEO. The chair
                  of the Board of Regents or designee will serve as the designated administrator in
                  complaints against the chancellor or an employee who reports directly to the
                  chancellor.

          4.1.6   All complaints of discrimination should be reported immediately and must be
                  reported to SECO and OGC in writing (through the centralized reporting process)
                  within two (2) business days by the designated member office.



08.01.01 Civil Rights Compliance                                                         Page 12 of 29
     Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 44 of 84


                  Notification to SECO and OGC must include the:
                  (a) date(s) of the complaint and alleged incident(s);
                  (b) nature and description of the alleged conduct;
                  (c) name(s), category (employee, student, and/or third party) and title(s), if
                      applicable, of the individual who was subjected to the alleged discriminatory
                      conduct; and
                  (d) name(s), category (employee, student, and/or third party) and title(s), if
                      applicable, of the respondent(s), if known.

          4.1.7   Not less than once every three months, the member Title IX Coordinator must
                  submit to the CEO a written report on all complaints of sexual harassment, sexual
                  assault, and dating violence, domestic violence, and stalking based on sex, as well
                  as acts of sex-based misconduct alleged to have been committed by or against a
                  person who was a student enrolled at or an employee of the institution at the time
                  of the incident (without personally identifying information), including
                  information regarding:

                  (a) the investigation of those reports;
                  (b) the disposition, if any, of any disciplinary processes arising from those
                      reports; and;
                  (c) the reports for which the institution determined not to initiate a disciplinary
                      process, if any.

          4.1.8   In addition, the member Title IX Coordinator will immediately report to the CEO
                  an incident covered under Section 4.1.6 if the coordinator has cause to believe
                  that the safety of any person is in imminent danger as a result of the incident.

          4.1.9   At least once during each fall or spring semester, the CEO will submit to the
                  Board of Regents and post on the member’s website a report of complaints
                  covered under Section 4.1.6. However, the report:

                  (a) may not identify any person; and
                  (b) must include:
                       (1) the number of reports received;
                       (2) the number of investigations conducted as a result of those reports;
                       (3) the disposition, if any, of any disciplinary processes arising from
                           those reports;
                       (4) the number of those reports for which the institution determined not
                           to initiate a disciplinary process, if any; and
                       (5) any disciplinary actions taken.

          4.1.10 Each CEO will annually certify in writing to the Texas Higher Education
                 Coordinating Board that the university is in substantial compliance with Chapter
                 51 Education Code, Subchapter E-2.
08.01.01 Civil Rights Compliance                                                          Page 13 of 29
     Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 45 of 84


          4.1.11 The filing of a discrimination complaint will not stop, delay or affect pending
                 personnel or disciplinary actions. This includes, but is not limited to, performance
                 evaluations or disciplinary actions related to an employee or student who is not
                 performing at acceptable levels or standards or who has violated system policies
                 or regulations or member rules.

    4.2 Investigations and Adjudications

          4.2.1   The designated office(s) to receive complaints of discrimination will review each
                  one to determine if there is sufficient information to proceed with an investigation
                  or if additional information is needed.

                  (a)    If the information is insufficient, the designated office, in consultation with
                         OGC, may conduct an initial assessment into the circumstances of the
                         complaint and (1) dismiss it as baseless; (2) close it for insufficient
                         information to investigate or lack of jurisdiction (see 4.2.9); (3) refer it to
                         another office which has responsibility for such complaints; or (4) with the
                         consent of the parties, as well as with the approval of SECO, refer the
                         complaint to informal resolution. Cases involving allegations based on sex
                         require the submission of a formal complaint before they may be referred
                         to informal resolution. The designated office will notify the complainant of
                         such action in writing.
                  (b)    If the information is sufficient, the designated office will forward the
                         complaint to an appointed investigative authority within five (5) business
                         days of the determination to proceed with the investigation.
                  (c)    The designated office will provide written              notification to the
                         complainant(s) and the respondent(s) of: (1) receipt of the complaint stating
                         the allegation of a violation of this regulation; (2) the appointed
                         investigative authority; (3) the appointed designated administrator; (4)
                         interim supportive measures, if any; (5) admonishments regarding
                         cooperation and prohibiting retaliation, and (6) any informal resolution
                         process that may be available.
                  (d)    An unredacted version of the complaint will be given to an employee
                         respondent(s) and their advisor, if applicable, with admonishments
                         regarding privacy.

          4.2.2   At any point in the process, a respondent may be subject to removal from the
                  member’s education program or activity on an emergency basis, provided that an
                  individualized safety and risk analysis (conducted by or in conjunction with a
                  member’s behavioral assessment team) has determined that an immediate threat
                  to the physical health or safety of any student or other individual arising from the
                  allegations justifies removal and provides the respondent with notice and
                  opportunity to challenge the decision immediately following the removal. Upon
                  being removed, any student respondent must be granted the opportunity for a
                  hearing within five (5) business days to review whether or not the removal is
                  warranted. The outcome of this hearing is not subject to appeal and is not a
                  disciplinary action. Members shall designate the assignment of a hearing
                  authority for this purpose.
08.01.01 Civil Rights Compliance                                                           Page 14 of 29
     Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 46 of 84



          4.2.3   Section 4.2.2 above does not preclude a member from suspending with pay,
                  reassigning, and/or placing an employee in another type of temporary status
                  pending completion of the investigation and final resolution of the allegations.
                  This is not a disciplinary action.

          4.2.4   The member should offer the complainant(s), the respondent(s) and other affected
                  individuals supportive measures (see Definitions). In all sex-based complaints,
                  the Title IX Coordinator or designee must promptly contact the parties to discuss
                  the availability of supportive measures, consider the parties’ wishes with respect
                  to supportive measures, inform the complainant of the availability of supportive
                  measures with or without the filing of a formal complaint, and explain to the
                  complainant the process for filing a formal complaint. Members must maintain
                  the privacy of any supportive measures provided to the complainant or respondent
                  to the extent that maintaining such privacy would not impair the ability of the
                  member to provide supportive measures. The Title IX Coordinator or designee
                  is responsible for coordinating the effective implementation of supportive
                  measures. Failure to comply with the terms of supportive measures such as
                  mutual no contact restrictions may be considered a separate violation of system
                  policies and regulations and member rules and procedures. In cases in which a
                  student complainant and student respondent are enrolled in the same course,
                  either student may elect to drop the course without any academic penalty.

          4.2.5   Both the complainant(s) and the respondent(s) must receive equitable treatment
                  in all facets of the complaint investigation and resolution process including, but
                  not limited to, the right to an advisor (if any), the right to present evidence and
                  witnesses, and the right to be informed of the outcome of the investigation. Prior
                  to any formal hearing, the role of any advisor will be limited to being present and
                  communicating only with their advisee; advisors may not represent the party or
                  otherwise actively participate in the process.

          4.2.6   The investigative authority will review each complaint, interview witnesses (if
                  applicable), review relevant documentation, and provide an initial draft report of
                  their investigation to OGC for review within 30 business days. OGC will
                  coordinate with SECO and provide its review to the investigative authority within
                  ten (10) business days. The investigative authority will have five (5) business
                  days to create a final draft report and share that document electronically with both
                  the complainant and the respondent. The complainant and respondent will have
                  ten (10) business days to review the report and submit written commentary to the
                  investigative authority. The investigative authority will then have five (5)
                  additional business days to prepare a final report for review by OGC and SECO,
                  who will have five (5) business days to provide feedback. The latter review
                  provided by OGC and SECO may be waived by mutual agreement between the
                  member and OGC/SECO if no substantive changes were made following the
                  initial review. The final report shall be submitted directly to the designated
                  administrator.

          4.2.7   Time frames for the receipt, investigation, and adjudication of complaints may be
                  extended for good cause with written notice to the complainant and respondent
                  of the delay and/or extension and the reasons therefor. Good cause is to be
08.01.01 Civil Rights Compliance                                                         Page 15 of 29
     Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 47 of 84


                  determined by the member in consultation with OGC and SECO and reasonable
                  extensions may be granted at the discretion of the member. The investigative
                  authority should send an extension request, if needed, to the office or individual
                  who appointed them.

          4.2.8   If in the course of an investigation a member decides to investigate allegations
                  about the complainant or respondent that were not included in the original notice,
                  the member must provide notice of the additional allegations to the parties.

          4.2.9   Complaints (or formal complaints in Title IX cases) will be investigated and
                  adjudicated under one of the following processes:

                  1. Title IX (see 4.2.10)
                  2. Sex-Based Misconduct (see 4.2.11)
                  3. All other civil rights complaints (see 4.2.12)

                  (a) When a complaint involves allegations of misconduct that involve both sex-
                      based allegations (1 and/or 2 above) and allegations of other civil rights
                      violations (3 above), the process shall be conducted under the requirements
                      established for sex-based offenses (1 or 2 above). Sex-based complaints
                      include those complaints based on sex, sexual orientation, and/ or gender
                      identity.
                  (b) In addition to reviewing complaints against students for civil rights violations,
                      members are expected to review allegations for possible violations of codes
                      of student conduct and professional expectations of employees.
                  (c) When unprofessional behavior by an employee that does not rise to the level
                      of a violation of this regulation is discovered during the civil rights
                      investigation and adjudication process, the information will be forwarded to
                      the employee’s supervisor.
                  (d) When possible violations of the code of student conduct by a student that do
                      not rise to the level of a civil rights violation are discovered during the civil
                      rights investigation process, and where there are no civil rights charges
                      brought forward as a result of the investigation, the information will be
                      forwarded for review to the student conduct process.
                  (e) When possible violations of the code of student conduct by a student that do
                      not rise to the level of a civil rights violation are discovered during the civil
                      rights investigation process, and where there is also going to be an
                      adjudication of the civil rights violation (through a formal hearing, or through
                      informal resolution methods that result in a finding and sanction), the case
                      will be consolidated into one adjudication conducted under the processes
                      described in 4.2.9(a).

          4.2.10 Title IX - The following applies to complaints of sexual harassment, sexual
                 assault or domestic violence, dating violence, or stalking based on sex at member
                 institutions of higher education only:

                  (a) Complaints will be processed under Title IX if all of the following apply:

08.01.01 Civil Rights Compliance                                                          Page 16 of 29
     Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 48 of 84


                          i.   The member has actual knowledge of a notice of sexual harassment or
                               a complaint involving allegations of sexual harassment, sexual
                               assault, and/or dating violence, domestic violence, and stalking based
                               on sex to the member’s Title IX Coordinator or any member official
                               who has authority to institute corrective measures on behalf of the
                               member. Imputation of knowledge based solely on vicarious liability
                               or constructive notice is insufficient to constitute actual knowledge.
                               Each member must designate in its rule which employees have the
                               authority to institute corrective measures;
                         ii.   A formal complaint is filed by the complainant or signed by the Title
                               IX Coordinator (see Definitions);
                        iii.   The alleged behavior/conduct must have occurred against a person
                               while in the United States;
                        iv.    At the time the formal complaint was filed, the complainant was
                               participating or attempting to participate in the member’s education
                               program or activity. This includes an enrolled student, an employee,
                               and applicants for admission or employment at the system member,
                               and;
                         v.    The alleged conduct meets the definition of sexual harassment as set
                               forth in this regulation (see Definitions).
                  (b) The burden of proof and the burden of gathering evidence sufficient to reach
                      a determination regarding responsibility rests on the member and not on the
                      parties, provided that the member cannot access, consider, disclose, or
                      otherwise use a party’s records that are made or maintained by a physician,
                      psychiatrist, psychologist, or other recognized professional or
                      paraprofessional acting in the professional’s or paraprofessional’s capacity,
                      or assisting in that capacity, and which are made and maintained in connection
                      with the provision of treatment to the party, unless the member obtains that
                      party’s voluntary, written consent to do so for the grievance process.
                  (c) In all investigations and in any hearing, a presumption will exist that a
                      respondent is not responsible for the allegations until a determination is made
                      at the conclusion of an adjudicatory process.

                  (d) Mandatory dismissals - If the conduct alleged in the formal complaint would
                      not constitute sexual harassment as defined even if proved, did not occur in
                      the member’s education program or activity, or did not occur against a person
                      in the United States, then the member must dismiss the formal complaint with
                      regard to that conduct for purposes of sexual harassment under Title IX; such
                      dismissal does not preclude action under another provision of the member’s
                      conduct standards, nor does it preclude the member proceeding with a civil
                      rights process under this Regulation as Sex-based Misconduct provided that
                      the investigatory, adjudicatory, and informal resolution processes are
                      administered as outlined in Section 4.2.9.
                  (e) Discretionary dismissals - Members may also dismiss a formal complaint if
                      the complainant notifies the Title IX Coordinator in writing that the
                      complainant wishes to withdraw it, if the respondent is no longer enrolled or
08.01.01 Civil Rights Compliance                                                         Page 17 of 29
     Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 49 of 84


                       employed by the member, or if specific circumstances prevent the member
                       from collecting evidence sufficient to reach a determination (for example,
                       when the complainant has ceased participating in the process; in certain fact-
                       specific cases when the passage of time precludes the collection of sufficient
                       evidence; when complainant’s identity is not known; and when the exact same
                       allegations have already been investigated and adjudicated); such dismissal
                       does not preclude action under another provision of the member’s conduct
                       standards, nor does it preclude the member proceeding with a civil rights
                       process under this Regulation as Sex-based Misconduct provided that the
                       investigatory, adjudicatory, and informal resolution processes are
                       administered as outlined in Section 4.2.9.
                  (f) Upon a dismissal required or permitted pursuant to (d) and (e) above, the
                      member must promptly send written notice of the dismissal and the reason(s)
                      therefore simultaneously to the parties. The parties must be given the
                      opportunity to appeal a dismissal to the member designated appellate
                      authority. Appeals processes will be established by each member in
                      consultation with OGC and SECO.
                  (g) Members may consolidate formal complaints as to allegations of sex-based
                      violations against more than one respondent, or by more than one complainant
                      against one or more respondents, or by one party against the other party, when
                      the allegations of sexual harassment arise out of the same facts or
                      circumstances.
                  (h) Members must provide a notice of allegations in cases involving sex-based
                      violations which include sufficient details known at the time and with
                      sufficient time to prepare a response before any initial interview. Sufficient
                      details include the identities of the parties involved in the incident, if known,
                      the conduct allegedly constituting sexual harassment, and the date and
                      location of the alleged incident, if known. The written notice must include a
                      statement that the respondent is presumed not responsible for the alleged
                      conduct and that a determination regarding responsibility is made at the
                      conclusion of the grievance process. The written notice must inform the
                      parties that they may have an advisor of their choice who may be, but is not
                      required to be, an attorney, and that they may inspect and review evidence.
                      The written notice must also inform the parties that they are prohibited from
                      knowingly making false statements or knowingly submitting false
                      information during the grievance process. If, in the course of an investigation,
                      the member decides to investigate allegations about the complainant or
                      respondent that were not included in the original notice, the member must
                      provide notice of the additional allegations to the parties whose identities are
                      known.
                  (i) Members must provide to each party whose participation in the investigation
                      is invited or expected written notice of the date, time, location, participants,
                      and purpose of all hearings, investigative interviews, and other meetings, with
                      sufficient time for the party to prepare to participate.
                  (j) Members must provide an equal opportunity for the parties to present
                      witnesses, including fact and expert witnesses, and other inculpatory and
                      exculpatory evidence; not restrict the ability of either party to discuss the
08.01.01 Civil Rights Compliance                                                          Page 18 of 29
     Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 50 of 84


                       allegations under investigation or gather and present relevant evidence;
                       provide the parties with the same opportunities to have others with them
                       during the grievance proceeding, including the opportunity to be
                       accompanied to any related meeting or proceeding by the advisor of their
                       choice; and not limit the choice or presence of the advisor in any meeting or
                       grievance proceeding. However, the member may establish restrictions
                       regarding the extent to which the advisor may participate in the proceedings,
                       as long as the restrictions apply equally to both parties. Advisors who fail to
                       adhere to established rules may be dismissed from the process at the discretion
                       of the member.
                  (k) After the final draft investigation report is prepared, members must provide
                      parties an equal opportunity to inspect and review any evidence obtained as
                      part of the investigation that is directly related to the allegations raised in the
                      formal complaint, including the evidence upon which the member does not
                      intend to rely in reaching a determination regarding responsibility, and
                      inculpatory or exculpatory evidence whether obtained from a party or other
                      source, so that each party can meaningfully respond to the evidence prior to
                      the conclusion of the investigation. This includes sending to each party and
                      the party’s advisor, if any, the final draft investigation report (with exhibits)
                      subject to inspection and review in an electronic format or a hard copy, and
                      the parties must have at least ten (10) days to submit a written response,
                      which the investigative authority will consider prior to final completion of the
                      investigative report. Both the report and the collected evidence will be
                      unredacted to the extent allowed by law. Investigation reports should include
                      a statement of the allegation(s), a listing of individuals interviewed including
                      the dates of the interviews, all inculpatory and exculpatory evidence collected
                      in the investigation, credibility assessments (which may not be based an
                      individual’s status as a complainant, respondent, or witness), and a listing of
                      relevant documents attached to the report as exhibits. Reports should not
                      contain speculation, opinions, findings, decisions, or recommendations for
                      sanctions.
                  (l) After the investigative authority has reviewed responses from the parties (if
                      any), a final investigation report will be developed and sent to SECO and
                      OGC for review, along with the responses from the parties. SECO and OGC
                      have five (5) business days to provide feedback to the investigative authority,
                      at which point the investigative authority will then have five (5) business days
                      to finalize the investigation report. The final investigation report will be
                      issued to the designated administrator. The review by OGC and SECO may
                      be waived by mutual agreement between the member and OGC/SECO if no
                      substantive changes were made to the draft report previously reviewed by
                      OGC/SECO.
                  (m)The designated administrator or designee will provide the final investigative
                     report and exhibits to the parties. The parties will be provided a pre-hearing
                     conference to review the hearing process as well as to explore any available
                     options for informal resolution. The parties will be provided at least ten (10)
                     business days to review the final investigative report and to respond in writing
                     to the designated administrator (if desired) prior to the hearing.


08.01.01 Civil Rights Compliance                                                            Page 19 of 29
     Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 51 of 84


                  (n) At any time prior to the adjudication of a formal complaint, the parties may
                      seek informal resolution to resolve the complaint. Informal resolution is
                      described in 4.6.
                  (o) Administrative conferences - If the complainant, respondent, and member all
                      agree on both the findings associated with the allegations and the sanctions to
                      be imposed, a designated administrator may reach a written resolution of the
                      complaint without a hearing, provided any sanctions imposed are in
                      compliance with the sanctioning requirements noted in 4.5.5. The pre-hearing
                      conference may serve as the administrative conference. Administrative
                      conferences are considered a form of informal resolution (see 4.6).
                  (p) If a formal complaint cannot be resolved through an informal process or if
                      either the complainant or the respondent requests a hearing, a formal live
                      hearing will be conducted by the designated administrator (a hearing officer
                      or hearing panel). Under this option, the following rules apply:
                     i. Unless waived by the parties, following the pre-hearing conference the
                        parties will be given a minimum of five (5) business days notice of any
                        formal hearing. The notice must include the date, time, and location of the
                        hearing, as well as instructions for those participating in hearings through
                        online means.
                    ii. Hearings will be closed to the public. Members must create an audio or
                        audiovisual recording, or transcript, of any live hearing and make it
                        available to the parties for inspection and review. Physical access to the
                        recording or transcript must be provided upon request for the purpose of
                        preparing an appeal following the hearing.
                    iii. A complainant and a respondent at a hearing must have an advisor with
                         them. In cases in which a party does not have an advisor, the university will
                         provide a trained advisor to assist them in the hearing process. Training
                         requirements for university advisors are outlined in the Training
                         Requirements (see 1.9).
                    iv. Cross-examination of the complainant, respondent, and any witnesses may
                        not be conducted by the opposing party but must be conducted by their
                        advisor. Questions are to be directed to the hearing officer or hearing panel
                        chair, who will determine whether or not each question will be admitted into
                        the hearing. If a question is deemed repetitious or not relevant, the decision-
                        maker(s) must explain the decision to exclude it. When parties are being
                        subject to cross-examination, the advisor may not answer on behalf of the
                        party.
                     v. Questions and evidence about the complainant’s sexual predisposition or
                        prior sexual behavior are not relevant, unless such questions and evidence
                        about the complainant’s prior sexual behavior are offered to prove that
                        someone other than the respondent committed the alleged conduct, or if the
                        questions and evidence concern specific incidents of the complainant’s
                        prior sexual behavior with respect to the respondent and are offered to prove
                        consent. The hearing panel chair or hearing officer makes final
                        determinations on the relevance of questions and evidence.


08.01.01 Civil Rights Compliance                                                          Page 20 of 29
     Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 52 of 84


                    vi. Attendance at a hearing may be in person or may be conducted through
                        remote means, provided that all parties and the hearing officer or hearing
                        panel can see and hear one another in real time during the course of the
                        hearing.
                   vii. If a complainant, respondent, or witness is not in attendance at a live
                        hearing, the hearing officer or hearing panel cannot rely on the previously
                        submitted statements of the absent party in reaching a determination, but
                        may utilize all other evidence, including witnesses who interacted with the
                        absent party, but not hearsay testimony of what the absent party told that
                        individual. A complainant, respondent, or witness statement can also not
                        be utilized in a determination if that person refuses to submit to cross-
                        examination at a live hearing.
                  viii. Hearing officers/hearing panels cannot draw an inference regarding
                        responsibility based solely on a party’s or witness’s absence from the live
                        hearing or refusal to answer cross-examination or other questions.
                    ix. No hearing officer or hearing panel member can also serve as an
                        investigative authority or appellate authority in the same complaint.
                        Students (who are otherwise not full-time employees) may not serve in the
                        role of investigative authority, hearing officer, hearing panel member, or
                        appellate authority.
                     x. When a hearing panel is being utilized to resolve a complaint, either a voting
                        chairperson or non-voting administrative advisor who does not serve on the
                        panel shall oversee the live hearing and deliberations, and assist in the
                        development of a finding of fact, decision rationale, and, when appropriate,
                        a sanction rationale in consultation with the panel members.
                    xi. Following the hearing, the hearing officer or hearing panel will develop a
                        draft decision and submit the draft to SECO within two (2) business days.
                        SECO will have a maximum of three (3) business days to provide feedback
                        to the hearing officer/hearing panel.         Thereafter, the designated
                        administrator will have a maximum of three (3) additional business days to
                        issue a decision letter. The decision letter must be sent simultaneously to
                        both/all parties.
                   xii. Decision letters must include:
                             1. The identification of the allegations;
                             2. A description of the procedural steps taken from the receipt of a
                                formal complaint through determination, including                 any
                                notifications to the parties, interviews with parties and witnesses,
                                site visits, methods used to gather other evidence, and hearings held
                                if any;
                             3. Findings of fact supporting the determination;
                             4. Conclusion regarding the application of the member’s conduct
                                standards to the facts;
                             5. A statement of, and rationale for, the result as to each allegation,
                                including a determination regarding responsibility, any disciplinary
08.01.01 Civil Rights Compliance                                                          Page 21 of 29
     Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 53 of 84


                                   sanctions the member imposes on the respondent, and whether
                                   remedies designed to restore or preserve equal access to the
                                   member’s education program or activity will be provided by the
                                   member to the complainant, and;
                             6. The member’s procedures and permissible bases for the complainant
                                and respondent to appeal.
                  xiii. If for any reason there is reasonable cause for a member to delay the
                        issuance of the decision letter, this will be communicated to the parties by
                        the designated administrator or designee.
                  xiv. If a student respondent withdraws or graduates from a member university
                       pending the resolution of a complaint, the process will continue and, the
                       member university will not issue a transcript on behalf of the student until
                       the conclusion of the process.
                   xv. Member universities, upon request by another postsecondary educational
                       institution, must provide to the requesting institution any determination that
                       a student violated the member university’s code of conduct by committing
                       sexual harassment, sexual assault, sex-based misconduct, and/or dating
                       violence, domestic violence, and/or stalking based on sex.

          4.2.11 Sex-based Misconduct - The following applies to complaints of sex-based
                 misconduct at all member universities and agencies:

                  (a) Cases involving allegations of sexual harassment, sexual assault, and dating
                      violence, domestic violence, and/or stalking based on sex that are subject to
                      mandatory or discretionary dismissal from the Title IX process may be subject
                      to investigation and adjudication as sex-based misconduct at the discretion of
                      the Title IX Coordinator, in consultation with OGC and SECO.
                  (b) All cases involving sex-based allegations are to be investigated and
                      adjudicated under the procedures outlined in 4.2.9, noting that the process is
                      to determine whether or not the allegations are substantiated and, if
                      substantiated, created a hostile environment.

          4.2.12 All Other Civil Rights Complaints (Non sex-based) - The following applies to all
                 civil rights complaints based on race, color, religion, national origin, age,
                 disability, genetic information, and/or veteran status:

                  (a) After SECO’s and OGC’s review of the initial draft report, the investigative
                      authority will have five (5) business days to create a final draft report and
                      share that document electronically with both the complainant and the
                      respondent. The complainant and respondent will have ten (10) business days
                      to review the report and submit responses and/or written, relevant questions
                      that the party wants asked of any other party or witness. The investigative
                      authority will, provide each party with the other party’s questions and
                      answers, and allow for additional, limited follow-up questions from each,
                      provide each party with the questions and answers, and allow for additional,
                      limited follow-up questions from each party. The investigative authority will
                      have ten (10) business days to complete this process. The investigative
08.01.01 Civil Rights Compliance                                                         Page 22 of 29
     Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 54 of 84


                       authority must explain to the party proposing the questions any decision to
                       exclude a question as repetitious or not relevant.
                  (b) The investigative authority will then have five (5) additional business days to
                      prepare a final report for review by OGC and SECO. Once approved by OGC
                      and SECO, the final report shall be submitted directly to the designated
                      administrator. Circumstances may warrant extensions to the time frames in
                      this section. The investigative authority should send an extension request, if
                      needed, to the office or individual who appointed them. Both the
                      complainant(s) and the respondent(s) should be notified of any extensions in
                      writing.
                  (c) Investigation reports should include a statement of the allegation(s), a listing
                      of individuals interviewed including the dates of the interviews, all
                      inculpatory and exculpatory evidence collected in the investigation,
                      credibility assessments (which may not be based an individual’s status as a
                      complainant, respondent, or witness), and a listing of relevant documents
                      attached to the report as exhibits. Investigators must conclude, based on the
                      preponderance of the evidence, whether or not the alleged behavior/conduct
                      occurred, did not occur, or there was insufficient evidence to establish that the
                      behavior occurred or not, but will not determine whether or not the behavior
                      establishes a violation of system or member regulations or rules. Reports
                      should not contain speculation, opinions, findings, decisions, or
                      recommendations for sanctions.
                  (d) At any time prior to the adjudication of a formal complaint, the parties may
                      seek informal resolution to resolve the complaint. Informal resolution is
                      described in 4.6.

    4.3 Decisions (non sex-based cases)

          4.3.1   For a complaint against an employee or third party, the designated administrator
                  will review the investigation report and provide a draft decision to OGC for
                  review within five (5) business days after receiving the investigative authority’s
                  report. OGC will coordinate with SECO and provide its review of the draft
                  decision within five (5) business days. The designated administrator will have
                  five (5) business days to finalize the decision and provide it to the complainant(s),
                  the respondent(s), and the investigative authority. In cases in which the
                  allegations are substantiated, the final decision will be provided to the
                  respondent’s supervisor. Circumstances may warrant extensions to the time
                  frames in this section. The designated administrator should send an extension
                  request, if needed, to the office or individuals who appointed them. Both the
                  complainant(s) and the respondent(s) should be notified of any extensions in
                  writing.

          4.3.2   For student respondent cases, the investigation report will be used as directed in
                  the university’s student conduct rules.

          4.3.3   For a complaint against a student, it is impractical for OGC to review the intended
                  decision prior to issuance by the hearing officer or hearing panel. Universities
                  are therefore exempt from obtaining OGC review of the decision prior to issuance
                  but may request assistance from OGC and SECO when needed.
08.01.01 Civil Rights Compliance                                                          Page 23 of 29
     Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 55 of 84



          4.3.4   When the respondent(s) is an employee, both the complainant(s) and the
                  respondent(s) may review a copy of the investigation report and exhibits, with
                  admonishments regarding privacy, after the decision is rendered. The report will
                  be redacted in accordance with state and/or federal law.

    4.4 Sanctions

          4.4.1   Disciplinary sanctions or other actions that are not supportive measures may not
                  be imposed on respondents prior to a determination of responsibility except in
                  cases meeting the requirements for removal on an emergency basis.

                  Remedies, which may be disciplinary or punitive in nature and may burden the
                  respondent, must be designed to restore or preserve the complainant’s equal
                  access to the member’s education program or activity. Members must describe
                  or list the range of possible disciplinary sanctions and remedies that the member
                  may implement following any determination of responsibility for any
                  discrimination finding in their member rule.

          4.4.2 The designated administrator may decide sanctions, if any, or may delegate the
                sanctioning decision to another authority within the member. Sanctioning
                decisions involving employees must be determined in consultation with OGC.
                The sanctioning authority may review an unredacted copy of the investigation
                report and exhibits.

          4.4.3   Sanctions may have educational, restorative and rehabilitative components for
                  employees and/or students. In addition, employee sanctions may have punitive
                  components. Examples of sanctions may include, but are not limited to, written
                  warning or reprimand, required training and/or counseling, “no contact” order,
                  probation, suspension, and employment dismissal and/or student expulsion from
                  an educational institution. For students, expulsion is a disciplinary action taken
                  to teach them that their actions and conduct have consequences, which includes
                  ineligibility to continue as a member of the educational community.

          4.4.4   Students found responsible for committing dating or domestic violence and/or
                  non-consensual sexual penetration of another person will be subject to a
                  minimum sanction of a one-year suspension, in the absence of significant
                  mitigating factors. Students found responsible for these acts who have
                  demonstrated predation for the purpose of carrying out these acts will be subject
                  to permanent expulsion.
          4.4.5   Member universities must establish guidelines for sanctions and remedies for
                  sexual harassment or sexual misconduct student violations. These guidelines
                  must be disseminated widely to the university community and utilized in the
                  training of adjudicators and appellate officers. A model guidelines document,
                  Model Sanctioning Matrix for Sexual Violence and Sexual Harassment Violations
                  by Students in The Texas A&M University System, is an appendix to this
                  regulation. Guidelines adopted by members must be consistent with the Model
                  Sanctioning Matrix included in the appendix to this regulation.


08.01.01 Civil Rights Compliance                                                        Page 24 of 29
     Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 56 of 84


          4.4.6   Students found responsible for committing acts of sexual harassment, sexual
                  assault, and dating violence, domestic violence, stalking based on sex, and/or any
                  other sex-based misconduct who are allowed to return to a member university
                  after a suspension of one year or more will be ineligible to hold an office in any
                  student organization, ineligible to represent the university in any way (including
                  intercollegiate athletics or other competitions, both on and off campus), and
                  ineligible to receive an institutional scholarship, in the absence of significant
                  mitigating factors.

          4.4.7   For other sex-based student conduct rule violations, member universities must
                  establish a process to determine the student’s eligibility to represent the university
                  in extracurricular activities, both on and off campus. The initial determination of
                  eligibility must exclude any administrator who has an inherent conflict of interest
                  in the student’s participation in a particular activity (e.g., the coach of a student-
                  athlete, the advisor to a student club or organization).

          4.4.8   When an employee is found to have sexually harassed or engaged in sex-based
                  misconduct (as defined by this regulation) another member of the university or
                  agency community, the sanction will be termination of employment.

          4.4.9   Universities may not take any disciplinary action against an enrolled student or
                  employee who in good faith reports to the university being the victim of, or a
                  witness to, an incident of sexual harassment, sexual assault, dating violence, or
                  stalking for a violation by the student or employee of the university’s code of
                  conduct occurring at or near the time of the incident and reasonably related to the
                  incident, for which suspension, expulsion, or dismissal from the university is not
                  a possible punishment, regardless of the location at which the incident occurred
                  or the outcome of the university’s disciplinary process regarding the incident, if
                  any. This does not apply to a student or employee who reports their own
                  commission or assistance in the commission of sexual harassment, sexual assault,
                  dating violence, or stalking.

          4.4.10 For sex discrimination complaints, both the complainant(s) and the respondent(s)
                 will be informed in writing of any and all sanctions, except when to do so would
                 violate state or federal law (e.g., Family Educational Rights and Privacy Act).

    4.5 Appeals

          4.5.1   Appeal of Decision and/or Sanctions – Allegations of Sex Discrimination. With
                  respect to allegations of sex discrimination, including sexual harassment and sex-
                  based misconduct, the designated administrator’s decision and the sanction(s)
                  imposed by the sanctioning authority can be appealed by the complainant(s)
                  and/or the respondent(s), but only on the following bases, as applicable:

                  (a) a procedural irregularity that affected the outcome;
                  (b) new evidence, not reasonably available at the time the determination regarding
                      responsibility or dismissal was made, that could affect the outcome. The new
                      evidence must be provided at the time of appeal with the appropriate member
                      appeals form;
08.01.01 Civil Rights Compliance                                                           Page 25 of 29
     Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 57 of 84


                  (c) the Title IX Coordinator, investigator(s), or decision-maker(s) had a conflict
                      of interest or bias for or against complainants or respondents generally or the
                      individual complainant or respondent that affected the outcome;
                  (d) the appropriateness or severity of the sanctions.

                  4.5.1.1 In order to avoid the appearance of a conflict of interest, appeals on any
                          of these bases must be directed to an authority who had no previous
                          involvement and/or participation in the investigation and/or decision.
                          The appellate authority must be specified in the member’s rule, whose
                          decision with regard to the appeal will be final.

                  4.5.1.2 The appeal will be confined to a review of the written documentation and
                          record of the investigation and/or hearing, and pertinent documentation
                          regarding the grounds for appeal. The appeal does not create an
                          entitlement to a new investigation or a full re-hearing of the complaint.
                          The appeal process for both the complainant(s) and the respondent(s)
                          must be equitable, but not necessarily identical. The appeal must be filed
                          within five (5) business days of notification of the decision. The appeals
                          process carries a presumption that the original decision was correct
                          unless a preponderance of the evidence demonstrates that one or more of
                          the conditions of the appeal are met, and that either or both parties was
                          deprived of a fair process.

                  4.5.1.3 Members must notify the other party in writing when an appeal is filed
                          and implement appeal procedures equitably for both parties. Parties will
                          be given three (3) business days to review the appeal and submit any
                          written response in support of, or challenging, the outcome to the
                          appellate authority.

                  4.5.1.4 If the respondent is an employee or third party, the appellate authority
                          will provide a draft decision to OGC for review within five (5) business
                          days after receiving the appeal(s). OGC will coordinate with SECO and
                          provide its review of the draft decision within five (5) business days. The
                          appellate authority will then have five (5) additional business days to
                          finalize the decision and provide it to the complainant(s), the
                          respondent(s), and the investigative authority simultaneously to the
                          extent possible. If the complaint on appeal is substantiated, the
                          respondent’s supervisor will also be informed. Circumstances may
                          warrant extensions to the timeframes in this section. The appellate
                          authority should send extension requests, if needed, to the office or
                          individual(s) who appointed them. Both the complainant(s) and the
                          respondent(s) must be notified of any extensions in writing.

                  4.5.1.5 For student cases, the appellate authority has ten (10) business days to
                          reach the decision and provide it to the complainant(s), the respondent(s),
                          and the investigative authority simultaneously to the extent possible.
                          Appellate authorities are exempt from obtaining OGC review of the
                          decision prior to issuance but may request assistance from OGC and
                          SECO when needed.
08.01.01 Civil Rights Compliance                                                         Page 26 of 29
     Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 58 of 84



                   4.5.1.6 The appellate authority may reach one of the following outcomes:

                            (a) affirm the original finding and sanction;
                            (b) affirm the finding and modify the sanction; or
                            (c) remand the case to a new hearing or review.

          4.5.2    Appeals – Allegations of Discrimination Not Based on Sex. Any employee
                   disciplined pursuant to this regulation may appeal that action in accordance with
                   System Policy 12.01, Academic Freedom, Responsibility and Tenure; System
                   Policy 32.01, Employee Complaint and Appeal Procedures; System Regulation
                   32.01.01, Complaint and Appeal Procedures for Faculty Members; System
                   Regulation 32.01.02, Complaint and Appeal Process for Nonfaculty Employees;
                   and/or other system policies or regulations as appropriate.

                   Any student receiving a sanction of separation (expulsion or suspension) pursuant
                   to this regulation may appeal the sanction in accordance with the member rule
                   and/or code of conduct for student grievances.

          4.5.3    Employees appealing sanctions issued pursuant to this regulation will receive an
                   unredacted copy of the investigation report and exhibits, upon request, with
                   admonishments regarding privacy.

    4.6 Informal Resolution

        4.6.1     At any time prior to the determination of a final decision, the parties may seek
                  informal resolution to resolve the complaint. The following conditions apply to
                  informal resolution:

                  (a) Informal resolution is a voluntary process. No party may be compelled to
                      participate in informal resolution. The system member, in consultation with
                      SECO, must agree to allow an informal resolution to move forward and must
                      obtain the parties’ voluntary, written consent to the informal resolution process.
                  (b) Prior to an informal resolution, the parties will be provided with: (a) written
                      notice of the allegations; (b) the requirements of the informal resolution
                      process, including the circumstances under which it precludes the parties from
                      resuming a formal complaint arising from the same allegations; and (c) the
                      consequences of withdrawing from the informal process and resuming the
                      formal process, and including the records that will be maintained or could be
                      shared.
                  (c) Once a party agrees to participate in informal resolution, they may withdraw
                      from the process at any time prior to a final agreement and resume the formal
                      grievance process. Information shared in the informal resolution process may
                      not be introduced into the formal process without independent evidence.
                  (d) Once a final agreement is established through informal resolution, the
                      complaint may not return to the formal complaint process unless one or both
                      parties fails to abide by any conditions established in the agreement.
08.01.01 Civil Rights Compliance                                                           Page 27 of 29
     Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 59 of 84


                (e) Informal resolution options include mediation, restorative conferences, shuttle
                    facilitation, and other forms of facilitated dialogue. Each member must work
                    in consultation with SECO in developing informal resolution programs and the
                    conditions for their use.
                (f) Mediation may not be used to resolve complaints of rape, statutory rape, dating
                    violence, domestic violence, or any case in which imminent threats of harm
                    may exist.
                (g) Members may not offer an informal resolution process in sex-based complaints
                    unless a formal complaint is filed and may not offer or facilitate an informal
                    resolution process to resolve allegations that an employee sexually harassed a
                    student.


Related Statutes, Policies or Requirements

Family Educational Rights and Privacy Act (FERPA)

The Equal Pay Act of 1963

Title VII of the Civil Rights Act of 1964, as amended

The Age Discrimination in Employment Act of 1967

The Age Discrimination Act of 1975

Title IX of the Education Amendments of 1972

The Rehabilitation Act of 1973, as amended

Americans with Disabilities Act of 1990, as amended

The Genetic Information Nondiscrimination Act of 2008

Executive Order 11246, as amended

Executive Order 13672

Texas Commission on Human Rights Act

Texas Fair Housing Act

Tex. Educ. Code 51 Subchapter E-2, Reporting Incidents of Sexual Harassment, Sexual Assault,
       Dating Violence, and Stalking

Tex. Educ. Code § 51.9363, Sexual Assault Policy

Tex. Educ. Code § 51.9365, Electronic Reporting Option for Certain Offenses

08.01.01 Civil Rights Compliance                                                       Page 28 of 29
     Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 60 of 84


Tex. Educ. Code § 51.9366, Amnesty for Students Reporting Certain Incidents

Tex. Lab. Code, Ch. 21, Employment Discrimination

System Policy 08.01, Civil Rights Protections and Compliance

System Policy 12.01, Academic Freedom, Responsibility and Tenure

System Policy 32.01, Employee Complaint and Appeal Procedures

System Regulation 32.01.01, Complaint and Appeal Procedures for Faculty Members

System Regulation 32.01.02, Complaint and Appeal Process for Nonfaculty Employees

This regulation supersedes:
      System Regulation 33.02.01, EEO and Affirmative Action Programs
      System Regulation 33.02.02, Compliance with Employment Provisions of the Americans
           with Disabilities Act
      System Regulation 34.01.01, Sexual Harassment


Appendix


Model Sanctioning Matrix for Sexual Violence, Sexual Harassment, and Sex-based Misconduct by
  Students in The Texas A&M University System

Minimum Training Requirements for Civil Rights Investigations, Advisement, Adjudication,
   Appeals, and Informal Resolution in The Texas A&M University System


Member Rule Requirements

A rule is required to supplement this regulation. See Section 1.4.


Contact Office

System Ethics and Compliance Office
(979) 458-6203




08.01.01 Civil Rights Compliance                                                 Page 29 of 29
        Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 61 of 84

Exhibit 3

                          STANDARD ADMINISTRATIVE PROCEDURE

 08.01.01.M1.01                  Investigation and Resolution of Allegations of Prohibited
                                 Conduct Against Students, Employees, and Third Parties
                   Approved January 23, 2013
                   Revised August 6, 2019
                   Next scheduled review: August 6, 2024
 _____________________________________________________________________________

 SAP Statement
 _____________________________________________________________________________

 The purpose of this SAP is to identify the procedures the University will use when responding to
 reports or complaints of Prohibited Conduct against students, employees, or third parties.
 _____________________________________________________________________________

 Definitions
 _____________________________________________________________________________

 The definitions from TAMU Rule 08.01.01.M1, including the definition of “Prohibited Conduct,”
 are incorporated by reference as if fully set forth herein.
 ____________________________________________________________________________

 Procedures and Responsibilities
 ____________________________________________________________________________

 1.        ROLES AND RESPONSIBILITIES

           1.1        The Department of Civil Rights and Equity Investigations (CREI) has been
                      designated to receive and investigate all reports alleging Prohibited Conduct against
                      Students, Employees, and Third Parties. CREI is responsible for appointing the
                      Investigative Authority.

                      Reports that a Student, Employee or a Third Party has engaged in Prohibited
                      Conduct should be made to CREI by contacting the Assistant Vice President and
                      Title IX Officer, Medical Sciences Library, 202 Olsen Blvd, Suite 007, College
                      Station, TX 77843. Reports may also be made by calling (979) 458-8407 or
                      emailing civilrights@tamu.edu. The Assistant Vice President and Title IX

 08.01.01.M1.01 Investigation and Resolution of Allegations of Prohibited Conduct Against Students, Employees and Third Parties
                                                                                                                                  Page 1 of 24
       Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 62 of 84




                     Officer’s responsibilities include (1) overseeing the process of responding to
                     allegations of Prohibited Conduct and (2) identifying and addressing any patterns
                     or systemic problems that arise from the review of such complaints.

          1.2        The Investigative Authority (IA) is one or more trained individuals appointed to
                     conduct a formal investigation to discover and examine the facts related to an
                     allegation. The IA may also draw conclusions as to whether, based on the
                     preponderance of the evidence, an allegation is substantiated, unsubstantiated, or
                     that there is insufficient information to substantiate. The IA may also draw
                     conclusions as to whether or not any other regulations, codes, policies, rules or
                     SAPS were violated.

          1.3        The Designated Administrator (DA) reviews the Investigation Report, the
                     documentary evidence, and any other relevant information and renders a written
                     decision of responsibility based on the preponderance of the evidence as to 1)
                     whether the conduct alleged occurred; and 2) whether each allegation has been
                     substantiated, unsubstantiated, or that there is insufficient information to
                     substantiate that Respondent violated Texas A&M System Regulation 08.01.01.
                     The DA may also render a written decision as to whether other regulations, codes,
                     policies, rules or SAPS were violated. If violation(s) are found, the DA may issue
                     sanctions.

                      1.3.1 The University’s Chief Risk, Ethics, and Compliance Officer will appoint a
                            Hearing Officer to be the DA for all allegations against students.

                      1.3.2 The University’s Chief Risk, Ethics, and Compliance Officer will appoint
                            an individual to be the DA for all allegations against non-faculty Employees
                            and Third Parties, except that the Chancellor or designee will serve as the
                            DA for complaints against the Texas A&M President and for any employee
                            who reports directly to the President.

                     1.3.3      The Dean of Faculties and Associate Provost or designee will be the DA
                                for all allegations against Faculty Employees, except that the President or
                                designee will be the DA for allegations made against the Dean of Faculties
                                and Associate Provost.

          1.4        If the Complainant or the Respondent appeals the DA’s decision, the Appellate
                     Authority (AA) will review the Investigation Report, The DA’s decision, the
                     documentary evidence, and any other relevant information and render a written
                     decision on the appeal.


08.01.01.M1.01 Investigation and Resolution of Allegations of Prohibited Conduct Against Students, Employees and Third Parties
                                                                                                                                 Page 2 of 24
       Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 63 of 84




                     1.4.1      Appeals of decisions based on allegations against Students:
                                The AA for appeals of decisions based on allegations against students is the
                                University Disciplinary Appeals Panel (UDAP) and the appeal will follow
                                the procedure outlined in Section 6 below and Student Rule 58. UDAP may
                                refer the appeal to the Dean of Student Life or designee.

                     1.4.2      Appeals of decisions based on allegations against Non-faculty Employees
                                and Third Parties:
                                The AA for Non-faculty Employees and Third Parties will be the Vice
                                President for the Division of Human Resources and Organizational
                                Effectiveness or designee. The appeal will follow the procedure outlined
                                below in Section 6 below and Texas A&M SAP 32.02.02.M0.02.

                     1.4.3      Appeals of decisions based on allegations against Faculty:

                     The AA for Faculty Employees will be:
                           1) The University Committee on Faculty Disciplinary Appeals (UCFD)
                               who will render an advisory opinion regarding the appeal to the Provost
                               and Executive Vice President; and,
                           2) The Provost and Executive Vice President will render a final decision.

                     The appeal will follow the procedure outlined in Section 6 below and in University
                     Rule 12, Faculty.

          1.5        All persons serving as DAs, AAs, and IAs, will receive annual training regarding
                     the University’s rules and procedures and the handling of civil rights investigations,
                     including Title IX investigations. The IA will receive additional annual training in
                     regards to conducting fair and impartial investigations, including trauma-informed
                     investigation techniques and due process protections.

          1.6        All persons serving as DAs, AAs, and IA’s will be impartial and free of conflicts
                     of interest. Parties who are concerned about the impartiality of an individual serving
                     in one of these roles should submit their concerns, in writing, to the Chief Risk
                     Ethics and Compliance Officer, who may designate alternative individuals to fulfill
                     any of these roles. If the concern is in relation to the Chief Risk Ethics and
                     Compliance Officer serving in one of the capacities, the Executive Vice President
                     for Finance and Operations and CFO will have the option of designating a
                     replacement.




08.01.01.M1.01 Investigation and Resolution of Allegations of Prohibited Conduct Against Students, Employees and Third Parties
                                                                                                                                 Page 3 of 24
       Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 64 of 84




2.        PROCEDURES FOR INITIAL REVIEW AND PRELIMINARY ASSESSMENT OF
          REPORTS AND/ OR COMPLAINTS

          2.1        CREI will conduct an initial review of all reports and/or complaints of alleged
                     Prohibited Conduct that are received by the University against Students,
                     Employees, or Third-Party Respondents. The purpose of the review is to: 1) assess
                     the safety and well-being of the Complainant, the Respondent, and the community,
                     and 2) to determine whether a potential violation of Texas A&M System Regulation
                     08.01.01 or other University rule, SAP, code or policy could have occurred. As
                     part of the review, CREI will take the following steps:
                     Within five (5) business days of receiving a report or complaint, or as soon as
                     reasonably practicable thereafter, CREI will attempt to meet with the Complainant
                     to obtain more information about the allegations and to assess the safety and well-
                     being of the Complainant, the Respondent and the community. CREI will:
                               Inform the Complainant about their rights, resources, and options, including
                                options for medical treatment, counseling, and other support services.
                                Provide the Complainant with written information about University and
                                community resources that individuals who experience Prohibited Conduct
                                are entitled to receive regardless of whether they choose to pursue informal,
                                formal, or criminal remedies.
                               Inform the Complainant of their right to file a complaint with law
                                enforcement (if applicable) in addition to filing a complaint with CREI.
                                Inform the Complainant of their right to decline to contact law enforcement.
                                Offer to assist the Complainant with notifying law enforcement if desired.
                               Inform the Complainant of their right to file a complaint with state and
                                federal agencies.
                               In coordination and consultation with other University officials, offer the
                                Complainant the opportunity to request interim supports, academic
                                adjustments, and protective measures, as applicable. See 2.2 below.
                               If applicable, advise the Complainant about the importance of preserving
                                evidence that could assist in the investigation.
                               Inform the Complainant about formal resolution under this SAP and solicit
                                the Complainant’s preferred method for resolving the matter.
                               Inform the Complainant about the University’s prohibition against
                                retaliation.
                               Offer to assist the Complainant in submitting a written complaint that
                                details the nature and circumstances of the allegations, including the names
                                of the Complainant(s) and the Respondent(s), if so inclined.
                               If applicable, inform the Complainant of the right to use a pseudonym in
                                University documents related to the complaint. See Section 3.2 below.
08.01.01.M1.01 Investigation and Resolution of Allegations of Prohibited Conduct Against Students, Employees and Third Parties
                                                                                                                                 Page 4 of 24
       Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 65 of 84




                               Determine whether the Complainant is a minor, elderly, or disabled and, if
                                required, contact the appropriate agency in accordance with Texas law.
                               Consider whether requesting an interim suspension or interim restriction
                                (for Student Respondents) or an interim administrative action such as a
                                leave of absence (for Employees) would enhance the safety and well-being
                                of the Complainant, the Respondent, or the University community. See
                                Section 8.
                               Report de-identified statistics in accordance with University policies for
                                Clery Compliance purposes, if required.

          2.2        The University offers a range of support services, academic adjustments, and
                     protective measures to employees, students, and third parties. The purpose of these
                     measures is to:
                                1) facilitate continued access to University employment, academic
                                   programs, and University activities;
                                2) stop and prevent the reoccurrence of Prohibited Conduct;
                                3) support the Complainant and the Respondent during the investigation and
                                   resolution process.

                     Contacts for obtaining information about counseling, medical, mental health,
                     victim advocacy, visa and immigration information, impact of a leave of absence
                     on student financial aid, and other services available to Complainants and
                     Respondents (on campus and in the community) are available here:

                                Rights, Resources, and Options for Complainants
                                Rights, Resources, and Options for Respondents

                     Support services, academic adjustments, and protective measures may be available
                     to both Complainants and Respondents on a temporary or permanent basis, subject
                     to periodic review. These measures may include, but are not limited to: no-contact
                     directives, academic accommodations (e.g., dropping a class or postponing a due
                     date, for example), work schedule or location changes, transportation
                     modifications, residential moves, and leaves of absence. These measures may be
                     available regardless of whether a Complainant pursues a formal or informal remedy
                     under this SAP. The University will maintain the privacy of a person receiving
                     support services, academic adjustments, or protective measures provided under this
                     SAP to the extent practicable and will promptly address any violation of the
                     protective measures.



08.01.01.M1.01 Investigation and Resolution of Allegations of Prohibited Conduct Against Students, Employees and Third Parties
                                                                                                                                 Page 5 of 24
       Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 66 of 84




                     Additionally, the University will notify the parties that options such as protective
                     orders and criminal trespass warnings may be available through law enforcement
                     agencies and the judicial system.

                     If a Complainant, Respondent, or other member of the University community has
                     obtained a protective order, civil no-contact order, restraining order, or similar
                     order from an appropriate court against another member of the University
                     community, a copy of the order should be provided to the Chief Risk, Ethics, and
                     Compliance Officer. In conjunction with the University Police Department (UPD)
                     and other University officials, the Chief Risk, Ethics, and Compliance Officer will
                     take all reasonable actions authorized by law to implement the order. For more
                     information about how to obtain a protective order in the state of Texas, please
                     consult: https://guides.sll.texas.gov/legal-forms/protective-orders.

                     The University will provide reasonable interim, remedial, and protective measures
                     to Third Parties as appropriate and available, taking into account the role of the
                     Third Party and the nature of any contractual relationship with the University.

          2.3        Complainant may request a formal resolution of allegations of Prohibited Conduct
                     or may request “no resolution” of the allegations of Prohibited Conduct.

                     2.3.1      The allegations will be considered for investigation pursuant to the
                                procedures set forth in Section 3 below. CREI reserves the right to resolve
                                a complaint through no resolution rather than a formal investigation if the
                                allegation does not rise to the level of Prohibited Conduct.
                     2.3.2      If the Complainant requests that no resolution of the allegations occur, the
                                University will seek to honor the request whenever possible without
                                impeding the University’s ability to enhance the safety and security of the
                                Complainant and the University community. CREI will consider the
                                following factors when evaluating such requests:
                                       All of the known circumstances, including any corroborating
                                        evidence;
                                       The nature and scope of the alleged conduct, including whether the
                                        reported behavior involves the use of a weapon;
                                       The respective ages and roles of the Complainant and Respondent;
                                       Whether there have been other reports of Prohibited Conduct or
                                        other misconduct by the Respondent;
                                       Whether the report reveals a pattern of misconduct related to
                                        prohibited conduct (e.g. via illicit use of drugs or alcohol) at a given
                                        location or by a particular group;

08.01.01.M1.01 Investigation and Resolution of Allegations of Prohibited Conduct Against Students, Employees and Third Parties
                                                                                                                                 Page 6 of 24
       Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 67 of 84




                                          Fairness considerations for both the Complainant and the
                                           Respondent;
                                          Whether the University possesses other means to obtain relevant
                                           information and evidence;
                                          The University’s obligation to provide a safe and non-
                                           discriminatory environment;
                                           Any admissions of responsibility by the Respondent, if any; and,
                                          The impact of honoring the request on the Complainant and the
                                           University Community, including the risk of additional violence.

                                2.3.3      If the University is able to honor the Complainant’s request for no
                                           resolution, the University may close the matter with no action taken,
                                           or the University may proceed, with other appropriate steps,
                                           including investigation and disciplinary action against the
                                           Respondent for violations of other rules, SAPS, regulations, policies
                                           or codes, if applicable.

                                           If the University determines that the Complainant’s request cannot
                                           be honored, the Complainant will be notified of the decision, and
                                           CREI will take appropriate actions, including but not limited to: (1)
                                           offering support services or academic adjustments and imposing
                                           protective measures; and (2) initiating a formal investigation.

          2.4        Within five (5) business days of the receipt of a report, or as soon as practicable
                     thereafter, CREI may consult with the Texas A&M University System Office of
                     General Counsel (OGC) as needed and make a preliminary determination about
                     whether to conduct a formal investigation of the allegations. The preliminary
                     determination may include, but is not limited to, the following:
                                (a)        An assessment of whether there is sufficient known or obtainable
                                           information to proceed with an investigation of the complaint;
                                (b)        An assessment of whether the allegations are baseless;
                                (c)        An assessment of whether the allegations, if true, would constitute
                                           Prohibited Conduct; and/or
                                (d)        An assessment of whether a Complainant’s request for no
                                           resolution may be honored.

                     If it is determined that there is insufficient information to proceed with an
                     investigation; or that the allegations are baseless; or, that the allegations, if true,
                     would not constitute Prohibited Conduct; or that an investigation will not occur due
08.01.01.M1.01 Investigation and Resolution of Allegations of Prohibited Conduct Against Students, Employees and Third Parties
                                                                                                                                 Page 7 of 24
       Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 68 of 84




                     to Complainant’s request for no resolution, CREI may, after consultation with
                     OGC:
                           a.     Dismiss the complaint; or
                           b.     may refer the report to a different office at the University who may
                                  review the conduct and take disciplinary action against the
                                  Respondent for violations of other University rules, codes,
                                  regulations, policies, or SAPS, if applicable.

          2.5        If a complaint alleges conduct that may be Prohibited Conduct as well as a violation
                     of one or more rules, SAPs, regulations, codes, or policies, CREI will consult with
                     other University Officials, as appropriate, and coordinate procedures to utilize to
                     resolve the allegations in addition to those required by this SAP. CREI may elect
                     to resolve all the allegations in one proceeding under this SAP, or CREI may elect
                     to refer one or more of the allegations to other university administrators for
                     resolution apart from this SAP.


3.        FORMAL INVESTIGATION OF COMPLAINTS

          3.1        Once it has been determined that the University will proceed with a formal
                     investigation, CREI will appoint the Investigative Authority (IA). The IA may
                     include one or more appropriately trained investigators.

          3.2        Within two (2) business days of the IA’s appointment, the Assistant Vice President
                     and Title IX Officer (or designee) shall simultaneously notify the Complainant(s)
                     and Respondent(s) in writing of the commencement of the investigation. The notice
                     will include: (1) the identity (or pseudonym, if requested and applicable) of the
                     Complainant and the Respondent; (2) the date, time (if known), location, and nature
                     of the alleged misconduct; (3) the regulation(s), policies(s), rules(s), SAP(s) or
                     code(s) alleged to have been violated and a copy of this SAP; (4) the identity of and
                     contact information for the IA; (5) the identity of the DA and AA; (6) an
                     explanation of the prohibition against retaliation; (7) an instruction to the parties to
                     preserve any potentially relevant evidence in any format; (8) information about the
                     University’s process for challenging the neutrality or bias of the IA, DA, or AA;
                     and (9) a redacted copy of the written complaint, if any, with appropriate
                     admonishments about privacy. If the Complainant has requested that a pseudonym
                     be used in the University’s paperwork, the Respondent will be verbally notified of
                     the Complainant’s name at the Respondent’s intake meeting. The Notice will also
                     include an assurance that the parties will be kept apprised of the status of the
                     investigation and resolution process and provide a contact person for the party to
                     contact for periodic update.

08.01.01.M1.01 Investigation and Resolution of Allegations of Prohibited Conduct Against Students, Employees and Third Parties
                                                                                                                                 Page 8 of 24
       Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 69 of 84




          3.3        If the Respondent is an employee, the Assistant Vice President and Title IX Officer
                     (or designee) shall also notify, in writing, the Respondent’s department head that
                     CREI is investigating an allegation that the Respondent has engaged in conduct that
                     may be a violation of Texas A&M System Regulation 08.01.01or other University
                     rules, SAPS, codes, or policies.

          3.4        The IA will review the complaint, conduct a prompt, fair, thorough and impartial
                     investigation, and provide a draft investigative report for OGC review within
                     approximately thirty (30) business days from the issuance of the Notice of
                     Investigation. Circumstances may warrant extensions to this timeframe.

          3.5        Abuse of the investigation and resolution process is subject to disciplinary action
                     up to and including dismissal or separation from the University. Examples of abuse
                     of process include, but are not limited to:

                          Failure to appear at a meeting, interview, hearing, or conference as set forth in
                           a Notice issued by CREI
                          Falsification, distortion, destruction, or misrepresentation of evidence or
                           information
                          Disruption or interference with the orderly conduct of
                           an investigation, interview, meeting, hearing or conference
                          Intentionally initiating or causing to be initiated a false report
                          Attempting to discourage an individual’s proper participation in, or use of, the
                           investigation and resolution process, disciplinary process, or legal process
                          Attempting to influence the impartiality of the IA, AA, or DA prior to, and/or
                           during the course of, the investigation and resolution process
                          Verbal or physical intimidation, and/or retaliation of any party to the
                           investigation and resolution process prior to, during, and/or afterwards.
                          Failure to abide by the terms of University administered sanctions.
                          Influencing or attempting to influence another person to commit an abuse of
                           the investigation and resolution process
                          Failure to cooperate fully with the IA (applies to employees only)


                     Students, Employees, and Third Parties who are found responsible for abuse of the
                     investigation and resolution process are subject to the sanctions outlined in Section
                     5 of this SAP.

          3.6        During the investigation, the Complainant and the Respondent will have an equal
                     opportunity to be heard, to submit information and corroborating evidence, to
                     identify witnesses who may have relevant information, and to submit questions to
                     be asked of the other party. Questions for the other party will be asked by and at

08.01.01.M1.01 Investigation and Resolution of Allegations of Prohibited Conduct Against Students, Employees and Third Parties
                                                                                                                                 Page 9 of 24
       Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 70 of 84




                     the discretion of the IA. The IA will meet separately with the Complainant, the
                     Respondent, and any witnesses, and will gather other relevant and available
                     evidence and information. The IA may also consult medical, forensic,
                     technological, or other experts when expertise is needed in order to achieve an
                     understanding of the issues under investigation.

          3.7        Witnesses must have observed the acts in question or have information relevant to
                     the incident in order to participate in the process. A witness cannot participate
                     solely to speak about an individual’s character. However, a Respondent may
                     provide letters or other written testimonials to the investigator that include
                     information about Respondent’s character, which will be provided to the DA after
                     a decision on responsibility has been made but before sanctions (if any) are
                     considered.

          3.8        When the University is made aware that there is a concurrent criminal investigation,
                     CREI may inform the law enforcement agency that a University investigation is
                     also in progress; ascertain the status of the criminal investigation; and, determine
                     the extent to which any evidence collected by law enforcement may be available to
                     the University in its investigation.

                     At the request of law enforcement, the University may temporarily defer part or all
                     of the investigation until after the initial evidence-gathering phase of the law
                     enforcement investigation is complete. The IA will communicate with the parties
                     (as appropriate) about the law enforcement agency’s request; the University’s
                     obligations and supportive resources; procedural options; anticipated timing; and
                     the implementation of any necessary interim measures for the safety and well-being
                     of all affected individuals.

          3.9        Standards for the resolution of criminal allegations are different than the standards
                     for resolution of a violation of Texas A&M System Regulation 08.01.01and/or any
                     other University policy, rule, SAP, or code; therefore, the University will not base
                     its decisions under this SAP on any law enforcement determination and/or the
                     outcomes of any criminal proceedings.

          3.10       The IA has the sole discretion to determine the relevance of evidence and whether
                     it should be included in or excluded from the Investigation Report. If applicable,
                     the Hearing Officer has the sole discretion to determine the relevance of evidence
                     and whether it should be heard at a live hearing. The Rules of Evidence do not
                     apply in a live hearing.



08.01.01.M1.01 Investigation and Resolution of Allegations of Prohibited Conduct Against Students, Employees and Third Parties
                                                                                                                                 Page 10 of 24
       Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 71 of 84




          3.11       With respect to allegations of Prohibited Conduct based on sex or gender: the sexual
                     history of the Complainant or Respondent is generally irrelevant and will not be
                     used to prove character or reputation. Sexual history of the parties may be relevant
                     in limited circumstances, such as when it aids in determining the manner and nature
                     of prior communications of consent between the parties.

          3.12       CREI is responsible for all administrative actions required to conduct the
                     investigation. These include, but are not limited to, informing the parties of
                     extensions or other delays affecting the investigation, contacting supervisors or
                     faculty regarding their employees’ or students’ time away from work or class to
                     participate in the investigative process, making reports to university administrators,
                     and other responsibilities necessary to properly conduct the investigation.

          3.13       To the extent possible, the investigation will be conducted in a manner that protects
                     the privacy of all parties involved. While the University cannot guarantee complete
                     privacy, information collected during the investigation will be communicated only
                     to the parties and those with a need to know in order to fulfill the purposes of
                     University policies and to comply with applicable laws.

          3.14       Both the Complainant and the Respondent have the right to choose an advisor to be
                     present at any time in which the party participates in the investigation and resolution
                     process, including the filing of the complaint, the interview with the IA, and all
                     other meetings related to the investigation and resolution of the complaint. The
                     advisor may be any person selected by a party, including legal counsel, except that
                     the advisor may not be another party or a witness in the case. The advisor’s
                     participation will be limited to the role of an observer, although the advisor may
                     request a break at any point to give advice to a party. An advisor can be barred from
                     being present during the process if, in the judgment of the IA, the DA, the AA, or
                     the Assistant Vice President and Title IX Officer, the advisor attempts to directly
                     address the IA, DA or AA, advocate on behalf of a party, or is otherwise disruptive.
                     Any fees charged by the advisor are the responsibility of the individual who
                     selected the advisor.

          3.15       At the conclusion of the investigation, the IA will prepare a Draft Investigation
                     Report summarizing the relevant information gathered and outlining any relevant
                     contested and uncontested information. The Draft Investigation Report will not
                     include any conclusions as to whether allegations are substantiated, unsubstantiated
                     or that there is insufficient information to substantiate.




08.01.01.M1.01 Investigation and Resolution of Allegations of Prohibited Conduct Against Students, Employees and Third Parties
                                                                                                                                 Page 11 of 24
       Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 72 of 84




                     The Complainant and the Respondent will be notified that the Draft Investigation
                     Report is complete and will be given five (5) business days to review the Draft
                     Investigation Report and submit a written response to the IA. CREI may extend
                     the time to review the Draft Investigation Report upon request for good cause. If
                     one party is granted an extension of time to review the report, an equal amount of
                     additional time will be granted to all other parties.

                     In cases that include allegations against a Student Respondent, the exhibits to the
                     Draft Investigation Report may be reviewed by the parties upon request. In cases
                     that include allegations against an Employee or Third Party Respondent, all parties
                     may review the Exhibits to the Investigation Report without making a request.

                     Involved parties have the opportunity to review and respond to the Draft
                     Investigation Report by: (1) providing written comment or feedback; (2) submitting
                     additional evidence or information; (3) identifying additional witnesses or
                     requesting the collection of other information by the Investigative Authority; and/or
                     (4) suggesting questions to be asked (at the discretion of the IA) of the other
                     party(ies). A party’s written response, if any, will be shared with all other parties
                     and incorporated in the investigation report as an exhibit. If a party knows, or
                     through the exercise of reasonable diligence, should know, of information or
                     evidence that was not provided to the investigator during the investigation, the party
                     must provide such information or, if the party does not have access to the
                     information, a description of such evidence to the IA during the review and respond
                     period or such evidence will not be considered, absent good cause, in the
                     determination of responsibility for a violation of a regulation, rule, SAP, code or
                     policy.

          3.16       At the conclusion of the review and respond period, the IA will determine if any
                     new or relevant information was provided by one or both of the parties. If
                     necessary, the IA may pursue additional investigative steps and/or amend the
                     Investigation Report. If the amended Investigation Report contains any material or
                     substantial changes, the Complainant and Respondent will be given five (5)
                     business days to review the amended Investigation Report and submit a written
                     response as set forth above. The opportunity to review and respond to an amended
                     Investigation Report will be extended to the Complainant and Respondent until the
                     IA determines that no material or substantial changes were made to the Draft
                     Investigation Report.

                     The IA may add a conclusion for each allegation to the Investigation Report after
                     the final review and response period concludes. The conclusion will be:

08.01.01.M1.01 Investigation and Resolution of Allegations of Prohibited Conduct Against Students, Employees and Third Parties
                                                                                                                                 Page 12 of 24
       Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 73 of 84




                     substantiated, unsubstantiated, or insufficient information to substantiate based on
                     the evidence and information in the report. In addition, the IA may add a conclusion
                     as to whether Texas A&M System Regulation 08.01.01 was violated, and, if
                     appropriate, the IA may make a conclusion as to whether other regulations, policies,
                     rules, SAPS, or codes were violated. The IA will use the preponderance of the
                     evidence standard (i.e., more likely than not) in making conclusions. The IA will
                     not make any recommendations or conclusions with respect to sanctions. The
                     conclusions of the IA are merely advisory and are not the final decision with respect
                     to responsibility.

                     Within five (5) business days after the final review and respond period concludes,
                     CREI will forward the Investigation Report, as amended with conclusions (if
                     applicable), along with the documentary evidence and any other relevant
                     information, to the Office of General Counsel (OGC). OGC will conduct a legal
                     review in accordance with Section 4.2.5 of System Regulation 08.01.01. OGC will
                     provide its legal review to the IA within ten (10) business days. After receiving the
                     legal review, the IA will have five (5) business days to finalize the Investigative
                     Report. The Assistant Vice President and Title IX Officer (or designee) will submit
                     the final report directly to the DA for decision-making. In cases that involve a
                     student Respondent, all parties will receive an electronic copy of the Final
                     Investigation Report (which does not include conclusions or exhibits) at the time
                     the report is sent to the DA. Exhibits may be reviewed upon request in CREI’s
                     office.

4.        THE DESIGNATED ADMINISTRATOR’S DECISION

          4.1        The Respondent is presumed to not have engaged in Prohibited Conduct until the
                     DA finds that there is sufficient evidence based on a preponderance of the evidence
                     to find that Respondent has violated Texas A&M System Regulation 08.01.01 or
                     Texas A&M Rule 08.01.01.M1 Prohibited Conduct: Discrimination, Harassment,
                     Complicity, and Related Retaliation based on a Protected Characteristic.

            Procedures Governing 1) Non-separable Allegations against Students,1 and
                    2) All Allegations against Employees and Third Parties




1
 A “non-separable allegation” is an allegation that a student engaged in conduct that 1) does not carry a possible
sanction of suspension or expulsion as per the Texas A&M Student Sanctioning Matrix, OR 2) has been determined
by the Assistant Vice President and Title IX Officer to not be serious enough that, if true, a possible sanction of
suspension or expulsion would be appropriate.
08.01.01.M1.01 Investigation and Resolution of Allegations of Prohibited Conduct Against Students, Employees and Third Parties
                                                                                                                                 Page 13 of 24
       Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 74 of 84




          4.2        A decision by the DA of responsibility does not constitute an employment action
                     with respect to faculty and non-faculty employees. Any sanction, imposed as a
                     result of a substantiated finding, will constitute an employment action.

          4.3        The DA will (1) review the unredacted Final Investigation Report, the documentary
                     evidence, and any other relevant information; and, (2) draft a decision based on the
                     preponderance of the evidence as to a) whether the alleged conduct occurred; and
                     b) whether each allegation is substantiated, unsubstantiated, or there is insufficient
                     information to substantiate that the Respondent violated System Regulation
                     08.01.01. The DA may also decide whether the Respondent has violated any other
                     System regulations or University rules, SAPS, codes and policies. If any violations
                     of Texas A&M System Regulation 08.01.01 are substantiated, the draft decision will
                     include sanctions. The draft decision may also include sanctions for substantiated
                     violations of regulations, rules, SAPS, codes, and policies. Sanctions should be
                     determined in accordance with Section 5 below.

                     In the decision, the DA will state the rationale for the decision and the sanctions, if
                     any. The decision will also include an explanation of how the University weighted
                     the evidence as well as how the standard of proof was applied. The final decision
                     will include instructions for appealing the decision and/or sanctions.

                     If the DA has substantial doubts about the thoroughness, fairness, and/or
                     impartiality of the investigation, the DA may refer the matter back to the IA with
                     further instructions, which could include the appointment of a different IA.

          4.4        Within five (5) business days of the DA’s receipt of the Final Investigation Report,
                     the DA will forward its draft decision to OGC. Within five (5) business days of
                     OGC’s receipt of the draft decision, OGC will conduct a legal review in accordance
                     with Section 4.4.1 of System Regulation 08.01.01 and consult, as needed, with
                     respect to sanctioning. Once the DA receives OGC’s legal review, the DA will
                     then have five (5) business days to finalize the decision and 1) forward Notice of
                     the DA’s decision simultaneously to the parties and the IA as set forth in Section
                     4.7 below; and 2) in cases that involve an employee Respondent, simultaneously
                     notify the parties of their right to review a copy of the Final Investigation Report,
                     with conclusions and the exhibits, after receiving admonishments as to privacy and
                     retaliation.

          4.5        The Final Investigation Report will be redacted in accordance with state and/or
                     federal law before the parties’ review.


08.01.01.M1.01 Investigation and Resolution of Allegations of Prohibited Conduct Against Students, Employees and Third Parties
                                                                                                                                 Page 14 of 24
       Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 75 of 84




                     Procedures Governing Separable Allegations2 against Students


          4.6        The DA will (1) review the unredacted Final Investigation Report, the documentary
                     evidence, and any other relevant information; and, (2) conduct a live hearing to
                     allow the parties to present witnesses, evidence or information, and to cross-
                     examine the other parties or witnesses by submitting written questions to the DA
                     (questions will be asked by and at the discretion of the DA). Thereafter, the DA
                     will announce a decision, based on the preponderance of the evidence, as to whether
                     or not the alleged conduct occurred; and b) whether it is substantiated,
                     unsubstantiated, or there is insufficient information to substantiate that the
                     Respondent violated Texas A&M System Regulation 08.01.01. The DA may also
                     announce a decision as to whether Respondent violated any other University
                     regulation, code, policy, SAP or rule. .

                     If the DA determines that any regulations, policies, rules, SAPs, or codes have been
                     violated, the DA will conduct a second hearing on sanctions immediately following
                     the first hearing. The DA will receive information about the factors listed in Section
                     5.1 below and accept any impact or mitigation statements as well as any
                     information about the Respondent’s character.

                     Thereafter, the DA will notify the parties in writing of the decision on responsibility
                     and sanctions as set forth in Section 4.7 below. The final decision will include
                     information about appealing the decision.

                     The decision of the DA will include how the University weighted the evidence and
                     the information contained within the Investigation Report. The DA will also state
                     how the standard of proof was applied.

          4.7        With respect to an allegation involving Prohibited Conduct based on sexual
                     harassment, sexual assault, sexual exploitation, dating abuse/violence, domestic
                     abuse/violence, or stalking based on sex or gender, the DA will simultaneously
                     notify the parties, the IA, and any other University official with a need to know of
                     the decision on the allegation and/or sanctions, except when doing so would violate
                     state or federal law (e.g., Family Educational Rights and Privacy Act). The DA
                     will also notify the parties that they can review the Final Investigation Report, with
                     conclusions and exhibits, in CREI’s office.

2
 A “separable allegation” is an allegation that 1) a student Respondent engaged in Prohibited Conduct or other
violation of System regulations or University policies that carries a possible sanction of suspension or expulsion as
per the Texas A&M Student Sanctioning Matrix, or 2) the Assistant Vice President and Title IX Officer has
determined to be serious enough, if true, a sanction of suspension or expulsion would be appropriate.
08.01.01.M1.01 Investigation and Resolution of Allegations of Prohibited Conduct Against Students, Employees and Third Parties
                                                                                                                                 Page 15 of 24
        Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 76 of 84




                     If the allegations involve Prohibited Conduct other than sexual harassment, sexual
                     assault, sexual exploitation, dating abuse/violence, domestic abuse/violence,
                     stalking, or related retaliation, the DA will simultaneously notify: (1) the
                     Complainant that an investigation of the allegations was conducted and the matter
                     has been resolved appropriately; and (2) the Respondent, the IA, and any other
                     University official with a need to know, of the decision and/or sanctions. The DA
                     will also notify the parties that they can review the Investigation Report with
                     conclusions (if applicable) and exhibits in CREI’s office.

5.         SANCTIONING
           5.1       In determining the appropriate sanctions, many factors may be considered,
                     including but not limited to:
                          The expressed wishes of the Complainant(s);
                          The nature of the Prohibited Conduct;
                          The impact of the conduct on the Complainant(s);
                          The impact of the conduct on the University community and the need to protect
                           the safety of the University community;
                          Prior disciplinary history of the Respondent;
                          Whether the Respondent has accepted responsibility for the conduct;
                          The necessity of any specific action in order to eliminate the Prohibited
                           Conduct, prevent its recurrence, and remedy its effects on the Complainant(s)
                           or other University community members; and/or
                          Any other mitigating, aggravating, or compelling circumstances.

                                           SANCTIONING FOR EMPLOYEES

           5.2       If an employee is found to have sexually harassed3 another member of the
                     university or agency community, the sanction will be termination of employment.
                     If an employee is found to have engaged in Prohibited Conduct other than sexual
                     harassment, the DA may assign appropriate sanction(s) which may have
                     educational, restorative, punitive, and rehabilitative components. Examples of
                     sanctions may include, but are not limited to, written warning or reprimand,
                     required training and/or attendance at counseling, “no contact” restrictions,
                     probation, suspension, and termination.
                     If the employee is found responsible for violating any other rule, policy, SAP, code,
                     or regulation, the DA may assign appropriate sanction(s) or may refer the
                     sanctioning to any other appropriate university administrator.




3
    Sexual Harassment is defined in Texas A&M System Regulation 08.01.01.
08.01.01.M1.01 Investigation and Resolution of Allegations of Prohibited Conduct Against Students, Employees and Third Parties
                                                                                                                                 Page 16 of 24
       Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 77 of 84




                                            SANCTIONING FOR STUDENTS

          5.3        If a student is found responsible for sexual harassment, sexual assault, domestic
                     abuse/violence, dating abuse/violence, stalking based on sex or gender, or sexual
                     exploitation, the student will be sanctioned in accordance with the Student Title IX
                     Cumulative Sanctioning Matrix.
                     If a student is found responsible for engaging in any other form of Prohibited
                     Conduct, or if the student is found responsible for violating any other University
                     Rule or System regulation, the DA will assign appropriate sanctions which may
                     have educational, restorative, and rehabilitative components.
                     Student Sanctions include:

                     5.3.1      Expulsion: Separation of the student from the University whereby the
                                student is not eligible for readmission to this University.

                     5.3.2      Suspension: Separation of the student from the University for a definite
                                period of time. The student is not guaranteed readmission at the end of such
                                period of time, but is guaranteed a review of the case and a decision
                                regarding eligibility for readmission. The suspension takes effect when the
                                appeal for the offense is exhausted, waived or time limit has
                                passed. Suspensions may be implemented in one of two ways: immediate
                                implementation of suspension or deferred implementation of suspension.
                                The sanction of suspension may be placed in deferred status. If the student
                                is found in violation of any University rule during the time of deferred
                                suspension, the suspension takes effect immediately without further review.
                                Additional student conduct sanctions appropriate to the new violation also
                                may be applied. A student who has been issued a deferred suspension
                                sanction is deemed “not in good standing” with the University.

                     Not in good standing: A student who is not in good standing is subject to the
                     following restrictions:

                               Ineligibility to hold an office in any student organization recognized by the
                                University or to hold any elected or appointed office of the University.
                               Ineligibility to represent the University in any way, including representing
                                the University at any official function, intercollegiate athletics or any forms
                                of intercollegiate competition or representation. This includes events taking
                                place both on and off of the University campus.
                               Ineligibility to receive a University administered scholarship when the
                                length of the period of not in good standing is greater than one semester.
                                Some scholarships adhere to more strict guidelines, and, therefore,
                                ineligibility may result from a lesser length of not in good standing. This
                                sanction implies a serious offense and must be uniformly applied by the
                                office administering the scholarship upon notification by CREI.


08.01.01.M1.01 Investigation and Resolution of Allegations of Prohibited Conduct Against Students, Employees and Third Parties
                                                                                                                                 Page 17 of 24
       Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 78 of 84




                               Additional restrictions or conditions also may be imposed, depending on the
                                nature and seriousness of the misconduct.

                         At the end of the suspension period, the student is eligible for
                         reenrollment. Actual admission to the University will be determined by the
                         academic rules in place at the time of application for reenrollment.

                     5.3.3. Conduct Probation: An official warning that the student’s conduct is in
                            violation of Texas A&M University regulations, policies, rules, codes, or
                            SAPs, but is not sufficiently serious to warrant expulsion or suspension. A
                            student on conduct probation is deemed “not in good standing” with the
                            University. If there is a finding of responsibility for subsequent violations
                            of the University’s regulations, policies, rules, codes, or SAPS during this
                            period of time, more severe sanctions may be administered.

                     5.3.4. Conduct Review: An official warning that the student’s conduct is in
                            violation of Texas A&M University regulations, policies, rules, codes, or
                            SAPs, but is not sufficiently serious to warrant expulsion, suspension, or
                            conduct probation. A student on conduct review shall have their conduct
                            under review for a specified period of time. This sanction may require
                            regular meetings with an appropriate official to ascertain and evaluate
                            compliance with student rules. Additional restrictions or conditions also
                            may be imposed, depending on the nature and seriousness of the
                            misconduct. Students placed on this sanction remain in good standing with
                            the University. If there is a finding of responsibility for subsequent
                            violations of regulations, policies, rules, codes, or SAPs during this period
                            of time, more severe sanctions may be administered.

                     5.3.5. Restrictions: The withdrawal of specified privileges for a definite period of
                            time, but without the additional stipulations contained in the imposition of
                            a sanction which results in a student being not in good standing. The
                            restrictions involved will be clearly defined.

                     5.3.6. Restitution: A payment for financial injury to an innocent party in cases
                            involving theft, destruction of property or deception. The assessed costs to
                            be paid may be in addition to receipt of any of the above sanctions.

                     5.3.7. Community/University Service: A student may be offered an opportunity to
                            complete a specified number of hours of Community/University Service.
                            The type of Community/University Service must be approved by the
                            Respondent’s CREI Case Manager.

                     5.3.8. Educational Requirements: A provision to complete a specific educational
                            requirement. Such educational requirements may include, but are not
                            limited to, completion of an alcohol education workshop, a diversity
                            awareness workshop, essays, reports, reflective writing assignments, etc.

08.01.01.M1.01 Investigation and Resolution of Allegations of Prohibited Conduct Against Students, Employees and Third Parties
                                                                                                                                 Page 18 of 24
       Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 79 of 84




                     5.3.9. Letter of Enrollment Block: A letter stating that the student may not reenter
                            Texas A&M University without prior approval through the Offices of the
                            Dean of Student Life or the Vice President for Student Affairs if enrollment
                            has been blocked for a previous student conduct problem.

                     5.3.10. Letter of Reprimand: A letter that makes a matter of record any incident that
                             reflects unfavorably on the student or the University.

                     5.3.11 Campus Housing Sanctions:

                                The occupants of each residence hall, by majority vote, have the power to
                                establish additional “in house” rules as approved by the Department of
                                Residence Life. Generally, “in house” rule infractions are handled by
                                resident life staff.

                                5.3.11.1 Loss of Campus Housing Privilege: Removal from university
                                         housing for conduct reasons.

                                5.3.11.2 Deferred Loss of Campus Housing Privilege: The sanction of Loss
                                         of Campus Housing Privilege may be placed in deferred status. If
                                         a student is found in violation of any University rule during the
                                         time of the deferred sanction, removal from housing takes effect
                                         immediately without further review. Additional student conduct
                                         sanctions appropriate to the new violation also may be taken. In
                                         addition, a student is ineligible to hold an elected or appointed
                                         office in any affiliated housing organization. This includes but is
                                         not limited to the following offices/positions: president, vice
                                         president, secretary, treasurer, RHA delegate.

                                5.3.11.3 Campus Housing Probation: An official notice that the student’s
                                         conduct is in violation of residence hall rules, University
                                         Apartments rules and/or University rules and that more stringent
                                         student conduct sanctions, including removal from housing, may
                                         result if future violations occur. In addition, a student is ineligible
                                         to hold an elected or appointed office in any affiliated housing
                                         organization. This includes but is not limited to the following
                                         offices/positions: president, vice president, secretary, treasurer,
                                         RHA delegate.

                       5.3.12 In addition to any of the sanctions listed in this section, members of the
                             Corps of Cadets are subject to disciplinary action in accordance with The
                             Standard.

6.        THE APPELLATE AUTHORITY’S DECISION



08.01.01.M1.01 Investigation and Resolution of Allegations of Prohibited Conduct Against Students, Employees and Third Parties
                                                                                                                                 Page 19 of 24
       Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 80 of 84




          6.1        Both a Complainant and a Respondent may appeal the DA’s decision. The bases
                     for appeal are limited to:
                                (1) A procedural error or omission that significantly impacted the outcome;
                                (2) New evidence, unknown or unavailable during the investigation that
                                    could have significantly impacted the outcome; or
                                (3) The appropriateness or severity of the sanctions4.

          6.2        All appeals must be in writing and must include a statement outlining the bases for
                     appeal and any evidence which supports the appeal. Appeals must be filed within
                     five (5) business days of the Complainant and Respondent’s receipt5 of the notice
                     of the decision to be appealed. An appeal is filed when CREI receives a copy of a
                     written appeal at civilrights@tamu.edu.

                     If 1) no appeal is filed within five (5) business days of the receipt of the notice of
                     the DA’s decision; or, 2) CREI determines that the appeal does not identify one of
                     the bases for appeal listed in Section 6.1 above or provide credible information or
                     evidence substantiating the identified bases for appeal, CREI will provide
                     simultaneous notice to the parties that no valid appeal was filed and that the
                     decision of the DA is final and the case is closed. If a timely and valid appeal is
                     filed by either party, the other party will be notified as soon as practicable
                     thereafter.

          6.3        CREI will forward the appeal and any supporting information or evidence to the
                     appropriate Appellate Authority (AA). The AA, in consultation with OGC, will
                     review the appeal documents, the decision of the DA, any new evidence submitted
                     by the parties, and the Investigation Report and exhibits. The AA will render a
                     written decision which includes a rationale for the decision as to each of the grounds
                     appealed. The AA will forward the appellate decision to CREI within ten (10)
                     business days from the date of receipt of the appeal, unless circumstances require
                     additional time. The decision of the AA will be final.

                     Within five (5) business days after receiving the appellate decision, CREI will
                     provide simultaneous notice of the AA’s decision as set forth in Section 4.7 above.

          6.4        The AA will render one or more of the following written decisions after reviewing
                     a) the final investigative report, the documentary evidence and other relevant
                     information; and b) the DA’s decision on responsibility and/or sanctions:
                     (1) Affirm the DA’s decision on responsibility and/or the sanctions. There are no
                         relevant issues of concern related to the ground(s) of the appeal, and, therefore,
                         the decision is affirmed and final.


4
  If an employee was found to have sexually harassed another member of the university or agency community,
6.1(3) is not available as a basis for appeal.
5
  Complainants and Respondents are deemed to have received the Notice of the Decision on the day that the Notice
is emailed to the party’s University email account or to any other email account that was provided to CREI by the
party.
08.01.01.M1.01 Investigation and Resolution of Allegations of Prohibited Conduct Against Students, Employees and Third Parties
                                                                                                                                 Page 20 of 24
       Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 81 of 84




                     (2) Remand the complaint back to the DA because new evidence which was
                         unknown or unavailable during the investigation appears to be relevant and
                         could have significantly affected the outcome of the decision on responsibility
                         or the sanctions. The DA will instruct the IA to review the new evidence and
                         amend the Investigative Report, as appropriate. The IA will submit the
                         Amended Investigative Report, without conclusions, to the parties for review
                         and response in accordance with Section 3.15 and 3.16 and then to the DA for
                         a new decision in accordance with Section 4. The new decision of the DA may
                         be appealed by the parties in accordance with the procedures outlined in Section
                         6.
                     (3) Remand the complaint back to the DA with an instruction to correct the
                         procedural error or omission.
                           If the procedural error occurred in the investigation phase, the DA will instruct
                           the IA to correct the procedural error or omission and amend the Investigative
                           Report, as appropriate. The IA will then submit the Amended Investigative
                           Report, without conclusions, to the parties for review and response in
                           accordance with Sections 3.15 and 3.16, and then to the DA for a new decision
                           in accordance with Section 4.
                           If the procedural error occurred in the resolution phase, the DA will correct the
                           procedural error or omission and then issue a new decision in accordance with
                           Section 4.
                           The new decision of the DA may be appealed by the parties in accordance with
                           Section 6 herein.
                     (4) Modify6 the decision on sanctions because the sanctions given were
                         inappropriate or disproportionate to the severity of the conduct after considering
                         all the circumstances. The AA will impose new sanctions, which are final.
          6.5        The appeal will be confined to a review of the record from the investigation and
                     any pertinent evidence, as well as the DA’s decision as related to the grounds for
                     appeal. The appeal does not create an entitlement to a new investigation.
          6.6        If an appeal is sought by both parties within the time frame specified in Section 6.2,
                     the AA will review both appeals and will render decisions accordingly.

7.        MISCELLANEOUS PROVISIONS

          7.1        A Respondent’s voluntary intoxication is never an excuse for or a defense to
                     Prohibited Conduct, and it does not diminish the Respondent’s responsibility to
                     determine that the other person has given consent and has the capacity to do so.

          7.2        The University will make every reasonable effort to comply with the timelines
                     contained in this procedure. However, extensions may be obtained by the IA, DA,


6
 If an employee was found to have sexually harassed another member of the university or agency community, the
AA may not render a decision which MODIFIES the sanctions.
08.01.01.M1.01 Investigation and Resolution of Allegations of Prohibited Conduct Against Students, Employees and Third Parties
                                                                                                                                 Page 21 of 24
       Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 82 of 84




                     or AA, as appropriate under the circumstances. Circumstances that warrant an
                     extension may include, but are not limited to:
                         Temporary unavailability of the Complainant(s), Respondent(s) or witnesses;
                         Delays in issuance and/or receipt of information to or from the IA;
                         Temporary unavailability of the IA, DA, or AA due to illness, family needs or
                          professional commitments;
                         Holidays or other periods when the Complainant, Respondent, witnesses, or
                          other University Employees may be unavailable; and/or
                         New allegations, new evidence, new witnesses, or any other fact or
                          circumstance that would require further investigation.

          7.3        All requests for extensions must be justified in writing and shall be sent by the IA,
                     DA, or AA to the Office of Risk, Ethics, and Compliance for review and approval
                     by the Chief Risk, Ethics, and Compliance Officer or designee. CREI will
                     simultaneously notify the Complainant and Respondent in writing of any
                     extensions and the reason for the extensions.

          7.4        The University’s disclosure of information related to an investigation, the DA’s
                     decision and/or the sanctions rendered under this SAP will be governed by the
                     provisions of the Family Educational Rights and Privacy Act (FERPA), the Texas
                     Public Information Act (TPIA), the Texas Education Code Section 51.971, and
                     other applicable confidentiality laws.

          7.5        This SAP applies to all reports of Prohibited Conduct received by the University
                     on or after the effective date of this SAP.

8.        INTERIM SUSPENSIONS AND INTERIM RESTRICTIONS OF STUDENTS

         8.1         A student may not be expelled or suspended prior to a decision of responsibility for
                     Prohibited Conduct or for other violations of university rules, policies, regulations,
                     codes, or SAP except when the Dean of Student Life believes that an interim
                     suspension should be imposed.

                     Interim suspension may be imposed only to ensure the safety and well-being of
                     members of the University community or guest, or preservation of University
                     property; to ensure the student’s own physical or emotional safety and well-being;
                     and/or if the student poses an ongoing threat of disruption of, or interference with,
                     the normal operations of the University.

                     If the Dean of Student Life issues an interim suspension, a show cause hearing will
                     be scheduled as soon thereafter as practicable. The student will be notified in
                     writing of this action and the reasons for the interim suspension. The notice will
                     include the time, date, and place of a subsequent conference at which the student
                     may show cause as to why his/her continued presence on the campus does not
                     constitute a threat. The student may also contest whether the facts of the initial
                     report are accurate.
08.01.01.M1.01 Investigation and Resolution of Allegations of Prohibited Conduct Against Students, Employees and Third Parties
                                                                                                                                 Page 22 of 24
       Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 83 of 84




          8.2        During the interim suspension, a student may be denied access to campus housing
                     and/or the campus (including classes) and/or all other University activities or
                     privileges for which the student might otherwise be eligible.

          8.3        The interim suspension does not replace the investigation and resolution process.
                     The investigation and resolution process shall proceed as outlined in this SAP,
                     except that the timelines referenced in this SAP shall not be followed and the
                     allegations will be resolved as soon as possible.

          8.4        Interim restrictions include, but are not limited to, contact restrictions;
                     representation of the university; and/or participation in university affiliated
                     organization meetings, events, and/or activities.

                     Interim restrictions may be imposed (1) when a student has been interim suspended;
                     (2) when a determination is made to implement a transcript hold under Texas A&M
                     System Regulation 11.99.02; and/or (3) in instances when the student’s
                     participation or representation would threaten or negatively impact other students
                     who are participating and/or representing an organization or the university. When
                     interim restrictions are imposed, a student will be notified in writing of the specifics
                     of the restrictions and why the restrictions are being implemented. Restrictions will
                     remain in place through a designated time period and/or, if not indicated, until the
                     student is notified that the restriction has ended.

9.        INTERIM ADMINISTRATIVE ACTIONS FOR EMPLOYEES

          9.1        In accordance with University rules and SAPS, CREI may request that an employee
                     be placed on leave during the investigation and resolution process. CREI may also
                     issue interim restrictions to an employee, which include, but are not limited to,
                     contact restrictions; representation of the university; “no trespass” orders, etc. Such
                     interim actions will remain in place as specified in the Notice to the employee or
                     until the allegations are resolved.


Related Statutes Policies, Regulations, and Rules
______________________________________________________________________________

System Policy 08.01 Civil Rights Protections and Compliance

System Regulation 08.01.01 Civil Rights Compliance

University Rule 08.01.01.M1 Prohibited Conduct: Discrimination, Harassment, Complicity, and
Related Retaliation based on a Protected Characteristic

University Rule 12.01.99.M2 University Statement on Academic Freedom, Responsibility,
Tenure, and Promotion

08.01.01.M1.01 Investigation and Resolution of Allegations of Prohibited Conduct Against Students, Employees and Third Parties
                                                                                                                                 Page 23 of 24
       Case 4:20-cv-04332 Document 1 Filed on 12/22/20 in TXSD Page 84 of 84




Standard Administrative Procedure 12.99.99.M0.01 Faculty Grievances Procedures not
Concerning Questions of Tenure, Dismissal or Constitutional Rights

System Regulation 32.02.02 Discipline and Dismissal of Nonfaculty Employees

System Regulation 32.01.02 Complaint and Appeal Process for Nonfaculty Employees

______________________________________________________________________________

Contact Office
______________________________________________________________________________

Department of Civil Rights and Equity Investigations




08.01.01.M1.01 Investigation and Resolution of Allegations of Prohibited Conduct Against Students, Employees and Third Parties
                                                                                                                                 Page 24 of 24
